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                                                                      Document     Page 1 of 53




 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS

 Case number (if known)         20-11157
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 1, 2020                            X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Philip Silveira
                                                                         Printed name

                                                                          Chief Financial Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Legacy Global Sports, L.P.

 United States Bankruptcy Court for the:                        DISTRICT OF MASSACHUSETTS

 Case number (if known)               20-11157
                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $         2,066,866.30

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $         2,066,866.30


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        13,528,703.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        7,506,528.27


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        21,035,231.27




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)         20-11157
                                                                                                                                 Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   See Appendix A/B Question No. 3                                                                                                 $29,381.38



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $29,381.38
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.   Amounts held by Debtors' payment processor, TSYS, against anticipated chargebacks                                              $146,529.35




            7.2.   Prepayments of certain hockey event expenses                                                                                    $11,136.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         Legacy Global Sports, L.P.                                                         Case number (If known) 20-11157
                Name



 9.         Total of Part 2.                                                                                                               $157,665.35
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           248,398.28    -                                   0.00 = ....                  $248,398.28
                                              face amount                            doubtful or uncollectible accounts




            11b. Over 90 days old:                              939,932.78    -                           469,966.39 =....                     $469,966.39
                                              face amount                            doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                               $718,364.67
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                            Valuation method used     Current value of
                                                                                                            for current value         debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                                % of ownership
                     See Appendix to Schedule A/B Question No.
            15.1.    15                                                                               %                                           Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                                       $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last            Net book value of         Valuation method used     Current value of
                                                      physical inventory          debtor's interest         for current value         debtor's interest
                                                                                  (Where available)

 19.        Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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 Debtor         Legacy Global Sports, L.P.                                                        Case number (If known) 20-11157
                Name

 20.        Work in progress

 21.        Finished goods, including goods held for resale
            Assorted shirts, apparel
            and sports equipment                      N/A                                  Unknown       N/A                                    Unknown



 22.        Other inventory or supplies

 23.        Total of Part 5.                                                                                                                     $0.00
            Add lines 19 through 22. Copy the total to line 84.

 24.        Is any of the property listed in Part 5 perishable?
             No
             Yes
 25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                                        Valuation method                       Current Value

 26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
            General description                                                   Net book value of      Valuation method used      Current value of
                                                                                  debtor's interest      for current value          debtor's interest
                                                                                  (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Assorted computers, server and monitors                                        Unknown       N/A                                    Unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                         $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 3
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 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                                Net book value of      Valuation method used       Current value of
            Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    See Appendix to Schedule A/B Question
                     No. 47                                                             Unknown                                               Unknown



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                                   $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
            property                                       extent of           debtor's interest      for current value          debtor's interest
            Include street address or other                debtor's interest   (Where available)
            description such as Assessor                   in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. See Appendix to
                     Schedule A/B
                     Question No. 55                                                    Unknown                                               Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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 Debtor         Legacy Global Sports, L.P.                                                     Case number (If known) 20-11157
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 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                                Net book value of       Valuation method used     Current value of
                                                                               debtor's interest       for current value         debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See Appendix to Schedule A/B Question No.
            60                                                                          Unknown                                              Unknown



 61.        Internet domain names and websites
            See Appendix to Schedule A/B Question No.
            61                                                                          Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Various customer lists for hockey, lacrosse
            and soccer businesses                                                       Unknown                                              Unknown



 64.        Other intangibles, or intellectual property
            See Appendix to Schedule A/D Questions Nos.
            64 & 65                                                                     Unknown                                              Unknown



 65.        Goodwill
            See Appendix to Schedule A/B Question Nos.
            64 & 65                                                                $10,267,521.00                                            Unknown



 66.        Total of Part 10.                                                                                                                   $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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                Name


             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Note Receivable Due From Travis                                   191,106.06 -                                  0.00 =
            Bezio                                                       Total face amount    doubtful or uncollectible amount                 $191,106.06


            Note Receivable Due From John St.                                 970,348.84 -                                  0.00 =
            Pierre                                                      Total face amount    doubtful or uncollectible amount                 $970,348.84



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            See Appendix to Schedule A/B Question No. 73                                                                                         Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            See Appendix to Schedule A/B Question No. 74                                                                                         Unknown
            Nature of claim
            Amount requested                                               $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                            $1,161,454.90
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 6
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                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                    Current value of real
                                                                                                      personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $29,381.38

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $157,665.35

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $718,364.67

 83. Investments. Copy line 17, Part 4.                                                                                       $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                         $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                $0.00
 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                    $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                            $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +              $1,161,454.90

 91. Total. Add lines 80 through 90 for each column                                                          $2,066,866.30            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $2,066,866.30




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:

 Debtor name          Legacy Global Sports, L.P.

 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS

 Case number (if known)              20-11157
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Generation Capital LGS, LP                    Describe debtor's property that is subject to a lien              $3,383,366.00                         $0.00
        Creditor's Name                               All Assets of Legacy Global Sports LP and
        17 Prince Arthur Avenue,                      subsidiaries
        3rd Floor
        Toronto, ON
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?

                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        July 2, 2015                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




        Jefferson River Investors I
 2.2
        LLC                                           Describe debtor's property that is subject to a lien              $6,923,398.00                         $0.00
        Creditor's Name                               All Assets of Legacy Global Sports LP and
        c/o Jefferson River Capital                   subsidiaries
        LLC
        1330 Avenue of the
        Americas, 11th Floor
        New York, NY 10019
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        1/21; 3/25; 4/9; 4/23; 5/7;                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        5/15; 5/22; 5/27; 6/4; 6/19
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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              Name


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




        Jefferson River Investors I,
 2.3
        LLC                                           Describe debtor's property that is subject to a lien                  $3,221,939.00             Unknown
        Creditor's Name                               All Assets of Legacy Global Sports, L.P. and
        c/o Jefferson River Capital                   subsidiaries
        LLC
        1330 Avenue of the
        Americas, 11th Floor
        New York, NY 10019
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?

                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        July 2, 2015                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $13,528,703.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Cortland Capital Market Services, LLC
         225 West Washington Street, Suite 1450                                                                Line   2.3
         Chicago, IL 60606




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS

 Case number (if known)          20-11157
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $6,850,861.27
           See Appendix 1 to Schedule E/F                                     Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           See Appendix 2 to Schedule E/F                                     Contingent
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           See Appendix 3 to Schedule E/F                                     Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           See Appendix 4 to Schedule E/F                                     Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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 Debtor      Legacy Global Sports, L.P.                                                               Case number (if known)            20-11157
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $655,667.00
           See Appendix 5 to Schedule E/F                                     Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                     7,506,528.27

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        7,506,528.27




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)         20-11157
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal                 Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                         See Appendix to Schedule G
                    government contract




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor



             Name                               Mailing Address                                    Name                           Check all schedules
                                                                                                                                  that apply:

    2.1      See Appendix to                                                                                                          D 2.2
             Schedule H                                                                                                               E/F
                                                                                                                                      G




Official Form 206H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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                                        Appendix to Schedule A/B Question No. 3
                                              Schedule of Bank Accounts

                                                                                      Last 4 Digits of   Current Value of
Debtor Name                                   Name of Institution   Type of Account   Account Number     Debtor's Interest
Legacy Global Sports, L.P.                    Citizens Bank            Operating             x8272        $         5,520.38
Premier Sports Events, LLC                    Citizens Bank            Operating             x8264        $              -
Legacy Global Sports, L.P.                    Citizens Bank            Operating             x8256        $              -
Massachusetts Premier Soccer, LLC             Citizens Bank            Operating             x8248        $              -
Global Premier Soccer California, LLC         Citizens Bank            Operating             x8434        $              -
Global Premier Soccer Canada, LLC             Citizens Bank            Operating             x8442        $              -
Carolina Premier Soccer, LLC                  Citizens Bank            Operating             x8418        $              -
Global Premier Soccer Connecticut, LLC        Citizens Bank            Operating             x8213        $              -
Florida Premier Soccer, LLC                   Citizens Bank            Operating             x8221        $              -
Georgia Premier Soccer, LLC                   Citizens Bank            Operating             x8426        $              -
Maine Premier Soccer, LLC                     Citizens Bank            Operating             x8361        $              -
Global Premier Soccer Missouri, LLC           Citizens Bank            Operating             x8205        $              -
Mass Premier Soccer in New Hampshire, LLC     Citizens Bank            Operating             x8388        $              -
Jersey Premier Soccer, LLC                    Citizens Bank            Operating             x8396        $              -
New York Premier Soccer, LLC                  Citizens Bank            Operating             x8353        $              -
Global Premier Soccer Oregon, LLC             Citizens Bank            Operating             x8191        $              -
Rhode Island Premier Soccer                   Citizens Bank            Operating             x8183        $              -
GPS in Vermont, LLC                           Citizens Bank            Operating             x8345        $              -
Legacy Global Sports, L.P.                    Bank of America          Operating             x2593        $         3,902.00
Massachusetts Premier Soccer, LLC             Bank of America          Operating             x2100        $           916.00
Global Premier Soccer Canada, LLC             TD Bank                    Payroll             x3512        $       19,043.00 CAD
Legacy Global Sports, L.P.                    Provident Bank           Operating             x7658        $              -
                                                                                              Total       $       29,381.38




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                                                     Appendix to Schedule A/B Question No. 15




                                                                    Legacy Global Sports, LP
                                                                             (DE)


                100%                    100%            100%            100%                                             100%                           100%



Legacy Global
                       LGS Europe, AB     LGS Manufacturing, LLC     LGS Management, LLC                                     LGS Logistics, LLC         LGS Team Sales, LLC
Lacrosse, LLC
                         (Sweden)                 (DE)                      (DE)                                                   (DE)                        (DE)
    (DE)


                                                                        80%                                    100%         100%                  50%


                                                                                                                      Action Youth,        Swedsports
                                                                         Mass Premier
                                                                                                    PSE, LLC               LTD            Tournament &
                                                                          Soccer, LLC
                                                                                                      (DE)               (United            Event, AB*
                                                                             (MA)
                                                                                                                        Kingdom)             (Sweden)



                                                                        [Various Soccer
                                                                         Subsidiaries]
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                    Summary of Non-Publically Traded Stock and Interests
                       Owned by Massachusetts Premier Soccer, LLC


             Subsidiary                                 Percent Ownership

             Maine Premier Soccer LLC                   92%

             Mass Premier Soccer in New Hampshire LLC   95%

             Florida Premier Soccer LLC                 70%

             New York Premier Soccer LLC                90%

             Jersey Premier Soccer LLC                  60%

             GPS in Vermont LLC                         95%

             Rhode Island Premier Soccer LLC            90%

             Carolina Premier Soccer LLC                90%

             Georgia Premier Soccer LLC                 85%

             Global Premier Soccer Puerto Rico LLC      70%

             Global Premier Soccer Canada LLC           88%

             Global Premier Soccer Oregon LLC           60%

             Global Premier Soccer California LLC       100%

             Global Premier Soccer Missouri, LLC        100%

             Global Premier Soccer Connecticut LLC      100%

             Global Premier Soccer Delaware LLC         100%

             Global Premier Soccer Michigan LLC         100%

             Global Premier Soccer Minnesota LLC        100%

             Global Premier Soccer Ohio LLC             100%




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                                                                              Appendix to Schedule A/B Question No. 47
                                                            List of Various Vehicles Owned/Leased by Massachusetts Premier Soccer, LLC

Device Number   State   Year      Make          Model             VIN              Driver        Status              Owned / Leased                     Notes                    Ending Miles       Lease End
 9011782311      CA     2018       Ford         Focus      1FADP3K25JL224464   Dylan Barrett   Connected                   ?
 9011781323     CAR     2002      Acura         3.2 CL     19UYA42402A004460 Wycliffe Anderson Connected                Owned                          Owned
 9011781325     CAR     2005     Honda          Accord    1HGCM715X5A024569     Tim Jones      Connected                Owned                          Owned
 9011781336     CAR     2004      Lexus           ES       JTHBA30G345036759  Charley Dukes    Connected               Historical                 Crashed, total loss
 9011781473     CAR     2017   Volkswagen        Jetta    3VW2B7AJ9HM227065     Marc Joyce     Connected                Leased              Leased 4 years, expires 8/2020                               8/1/2020
 9011781479     CAR     2011      BMW             328     WBAPH7C59BE460073 Michael Haughton Connected                  Owned                          Owned
 9011781499     CAR     2003     Honda          Accord    1HGCM72653A011202    Bilal Nassiri   Connected               Historical                     Scrapping
 9011781507     CAR     2001      Ford          Taurus    1FAFP55U01G200759    Henry Fisher    Connected                Owned                          Owned
 9011781527     CAR     2002      Acura          3.2TL     19UUA56662A049760   Set for Scrap   Off the road            Historical                Scrapping this week
 9011781529     CAR     2004    Hyundai        Santa Fe   KM8SC13D14U758864    Set for Scrap   Off the road            Historical                     Scrapped
 9011781531     CAR     1999     Toyota         Sienna     4T3ZF13C3XU148036   Oliver Forde    Connected                Owned                          Owned
 9011782021     CAR     2006      Buick        Lucerne    1G4HD57256U221358    Ellis Alleyne    Defective               Owned                          Owned
 9011782315     CAR     2004     Honda           Pilot     2HKYF18414H576395  Jamie Watson     Connected                Owned                          Owned
 9011782336     CAR     1996     Honda           Civic     1HGEJ6120TL020940   Stefan Boros    Connected                Owned                          Owned
 9011781482      DE     2007      Ford          Ranger     1FTYR10D87PA91621  Marcelo Cioffi   Connected                   ?
 9011781346      FL                                                                            Off the road               N/A                        Spare device
 9011781470      FL     2016   Volkswagen        Jetta    3VW267AJ3GM296787     Max Dixon      Connected                Owned             Financed. About 25000 miles/year
 9011781484      FL                                                                            Off the road               N/A                        Spare device
                                                                                                                                            Owned outright. About 25000
 9011781483      FL     2016   Volkswagen        Jetta    3VW267AJ4GM219250       Lucas Wengler        Connected         Owned                        miles/year
 9011781340      FL                                                                                   Off the Road        N/A                        Spare device
 9011781347      FL                                                                                   Off the Road        N/A                        Spare device
 9011781472      FL                                                                                   Off the Road        N/A                        Spare device
                                                                                                                                         Leased for 12k miles/year, lease ends
                                                                                                                                           2021, monthly payment of $279.
 9011781326     MA      2018     Honda           Civic    19XFC2F57JE203315        Ben Murphy          Connected         Leased              Employee pays $400 a month                                  1/1/2021
                                                                                                                                         Leased for 12k miles/year, lease ends
                                                                                                                                           2021, monthly payment of $279.
 9011781334     MA      2018     Honda           Civic    2HGFC2F52JH514480        Sam Griffiths       Connected         Leased              Employee pays $400 a month                                  1/1/2021
                                                                                                                                         Leased for 12k miles/year, lease ends
                                                                                                                                           2021, monthly payment of $279.
  No device     MA      2018     Honda           Civic    19XFC2F57JE202407      Charlotte Phillips    No device         Leased              Employee pays $400 a month                                  1/1/2021
                                                                                                                                         Leased for 12k miles/year, lease ends
                                                                                                                                           2021, monthly payment of $279.
  No device     MA      2018     Honda           Civic    2HGFC2F51JH521582         Sean Cook          No device         Leased              Employee pays $400 a month                                  1/1/2021

                                                                                                                                         Owned. parked in the office. Insured,
                                                                                                                                         owe $19K to Bank of America - have
  No device     MA      2016    Mercedes       GLE 450    4JGED6EB0GA011586                            No device         Owned                  not paid since 11/2019
                                                                                                                                           Owned. Parked in the office. Not
  No device     MA      2016     Lexus          RX 350     2T2BZMCA2GC016156                           No device         Owned           insured, owe $7k to Bank of America
 9011781330     ME      2012     Subaru         Forester    JF2SH63639G700850     Sean Graham          Connected         Owned                          Owned
 9011781342     ME      2007     Dodge       Grand Caravan                        Paddy Fannan         Connected         Owned             Owned - scrapping and replacing                220,000
                                                                                                                                           Leased - replacing with an owned
 9011781506     ME      2017     Toyota         Corolla   2T1BURHE2HC851638      Graham Forsyth        Connected         Leased                         vehicle                                         3/30/2020
 9011782354     ME                                                                                    Off the road         N/A                        Spare device
 9011781350     MN      2010     Toyota        Corolla    2T1BU4EE8AC486606        Bob Mulligan        Connected            ?
 9011781524     MN      2009     Dodge         Journey    3D4GH57VX9T598042          Dan Bell          Connected            ?
 9011781324     NH      2017     Toyota        Corolla    JTNKARJE6HJ533492         Matt Quinn         Connected         Leased                Leased - not replacing                                   2/29/2020
 9011781327     NH      2005     Honda         Accord     1HGCM56725A075062                           Off the Road      Historical       Owned - scrapped and not replaced                210,000
 9011781328     NH      2007       Ford        Fusion     3FAHP07Z17R172962        Pere Severa         Connected         Owned                        Owned
 9011781335     NH      2017     Toyota        Corolla    2T1BURHE2HC795555        Mark Taylor         Connected         Leased           Leased - downsizing to mini-lease                             2/29/2020
 9011781348     NH      2005     Toyota        Sienna     5TDZA23C95S384046       Adam Christie        Connected         Owned                        Owned
 9011782353     NH      2011    Mitsubishi     Lancer     JA32U2FU4BU009717       Jordan Barnett       Connected         Owned                        Owned
 9011782352     NH                                                                                    Off the Road         N/A                      Spare device
 9011781337     NH                                                                                    Off the Road         N/A                      Spare device
 9011781477     NH                                                                                    Off the Road         N/A                      Spare device
 9011781487     NH                                                                                    Off the Road         N/A                      Spare device
 9011781488     NH                                                                                    Off the Road         N/A                      Spare device
 8101882111     NJ      2003    Chevrolet      Trailblazer  1GNET16S536201736     Jonathan Dark        Connected         Owned
 9011781351     NJ      2013    Chevrolet        Spark      KL8CC6S92DC507689     Josh Pickering       Connected         Owned
 9011781474     NJ      2012    Chevrolet        Cruze     1G1PC5SH4C7197507         Ross Hill         Connected        Historical                   Dead Car
 9011781526     NJ      2004    Mercury      Grand Marquis 2MEFM75WX4X656345       James Nash         Off the Road      Historical                   Dead Car
 9011782330     NY      2014     Nissan          Sentra     3N1AB7AP6EL696203      Off the Road        Connected        Historical        Returned - no debts outstanding
 9011781521     NY      2015     Nissan          Sentra     3N1AB7AP4FY325867      Off the Road       Off the Road      Historical        Returned - no debts outstanding
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9011782350   NY    2015    Nissan   Sentra   3N1AB7AP9FY314704      Mo Ionussa        Connected      Owned               Owned, 84,883 miles

                                                                                                                 Batch #2. Leased, Payoff $11,220.39,
                                                                                                                  due back February 3. 83,000+ miles.
9011781502   NY    2016    Nissan   Sentra   3N1AB7AP5GY319352     Aitor Fuentes      Connected      Leased      Planned to buy. $6-$7K fine exposure.                 2/3/2020

                                                                                                                 Batch #2. Leased, Payoff $11,220.39,
                                                                                                                 due back February 3. Planned to buy.
9011781525   NY    2016    Nissan   Sentra   3N1AB7AP6GY310742     Carlos Garces      Connected      Leased      75,000+ miles. $6-$7K fine exposure.                  2/3/2020

                                                                                                                  Batch #2. Leased, Payoff $11,366.55,
                                                                                                                  due back February 3. Planned to buy.
9011781528   NY    2016    Nissan   Sentra   3N1AB7AP6GY244130       Ryan Lui         Connected      Leased       67,000+ miles. $5-$6K fine exposure.                 2/3/2020
                                                                                                                 Has to be returned, crashed last
                                                                                                                 week, needs work first. Front bumper
                                                                                                                 light down. Unsure how much we
9011782241   NY    2016    Nissan   Sentra   3N1AB7AP0GL682140      Fabio Felix      Off the Road   Historical   owe, likely close to $6,000.                          2/2/2020
                                                                                                                   Returned - still owe $5,931.37 in
9011782313   NY    2016    Nissan   Sentra   3N1AB7AP0GY324703     Off the Road      Off the Road   Historical                       fines
                                                                                                                   Leased. Crashed - hit a deer. Will be
9011782317   NY    2016    Nissan   Sentra   3N1AB7APXJY256000     Colin Morrow       Connected      Leased         fixed. Probably over-running miles.               1/28/2024
                                                                                                                 Lease is up 9/1/2020. Was crashed by
9011781503   NY    2017    Nissan   Sentra   3N1AB7AP8HY329763   Extra Car Buffalo    Connected      Leased              Lloyd. In a collision center.
9011781530   NY    2017    Nissan   Sentra   3N1AB7AP5HY320647   Bautista Pedezert    Connected      Leased          Lease is up 6/28/2020. In Buffalo.
                                                                                                                   Lease is up 8/28/2020. In Syracuse?
9011782335   NY    2017    Nissan   Sentra   3N1AB7AP9HY320246   Luke O'Callaghan     Connected      Leased                  Or sent to Buffalo?                      8/28/2020
                                                                                                                  In Rochester. Lease is up 6/28/2020.
                                                                                                                       22,000 miles (? Not sure when
9011782351   NY    2017    Nissan   Sentra   3N1AB7AP7HY320522      Chris Abbot       Connected      Leased                        updated)                           6/28/2020
                                                                                                                   3 year lease is up 5/3/2021. 35,000
9011781505   NY    2018    Nissan   Sentra   3N1AB7AP2JL620052     Alistair Harvey    Connected      Leased                          miles                             3/5/2021
                                                                                                                    We need to find the paperwork for
                                                                                                                   this. Lease started 9/1/2019, 42000
9011781520   NY    2018    Nissan   Rogue    KNMAT2MV5JP572574     Craig Thomas       Connected      Leased                          miles                    42000    9/1/2021
                                                                                                                    We need to find the paperwork for
9011781535   NY    2018    Nissan   Sentra   3N1AB7AP5JL635970       Rochester        Connected      Leased                           this.                            9/1/2021
                                                                                                                   Returned - still owe $6,669.68 in
9011782331   NY    2018    Nissan   Sentra   3N1AB7AP9JL628570       Rochester       Off the road   Historical                       fines
                                                                                                                    Plate #GBH4100. Albany. Lease up
9011782337   NY            Nissan   Sentra   3N1AB7AP7EL695061        Albany          Connected      Leased                       2/18/2022                           2/18/2022
9011781333                                                                           Off the Road     N/A                        Spare device
9011781338                                                                           Off the Road     N/A                        Spare device
9011781341                                                                           Off the Road     N/A                        Spare device
9011781343                                                                           Off the Road     N/A                        Spare device
9011781344                                                                           Off the Road     N/A                        Spare device
9011781352                                                                           Off the Road     N/A                        Spare device
9011781353                                                                           Off the Road     N/A                        Spare device
9011781486                                                                           Off the Road     N/A                        Spare device
9011781489                                                                           Off the Road     N/A                        Spare device
9011781519                                                                           Off the Road     N/A                        Spare device
9011782246                                                                           Off the Road     N/A                        Spare device
9011782311                                                                           Off the Road     N/A                        Spare device
9011782334                                                                           Off the Road     N/A                        Spare device
9011782246                                                                           Off the Road     N/A                        Spare device
9011782348                                                                           Off the Road     N/A                        Spare device
9011782355                                                                           Off the Road     N/A                        Spare device
9011882154                                                                           Off the Road     N/A                        Spare device
9011882157                                                                           Off the Road     N/A                        Spare device
    N/A      NY            Nissan   Altima   1N4AL3AP1FC441741  Brian Patterson                      Leased                        Why car?                           9/11/2021
    N/A      CAN           Nissan   Sentra   3N1AB7AP2FY315645      Canada                           Owned
    N/A      NY            Nissan   Sentra   3NI1B7AP5HY320647 Bautista Pedezert                     Leased                                                           6/28/2020
    N/A      NY            Nissan   Sentra   3N1AR7AP8HY329763 Extra Car Buffalo                     Leased                                                            1/9/2020
    N/A      CAN           Nissan   Sentra   3N1AB7AP3JY254122      Canada                           Leased                                                            9/1/2021
    N/A      CAN           Nissan   Sentra   3N1AB7AP7JY216070      Canada                           Leased                                                            9/1/2021
    N/A      CAN           Nissan   Sentra   3N1AB7AP4JL621249      Canada                           Leased                                                            9/1/2021
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                                                Appendix to Schedule A/B Question No. 55
                                                      Schedule of Leased Property

                                                                                                                         Valuation
                Debtor                    Location of Property    Nature of Debtor's Interest   Book Value of Interest    Method     Current Value
                                    77 Sleeper Street
Legacy Global Sports, L.P.          Boston, MA 02210                WeWork Membership                   N/A                N/A         Unknown
                                    2950 W. Square Lake Rd.
                                    Suite 101
Legacy Global Sports, L.P.          Troy, MI 48098                        Leasehold                     N/A                N/A         Unknown
                                    The Aspen Building
                                    3030 South Ninth Street
Premier Sports Events, LLC          Kalamazoo, MI 49009                   Leasehold                     N/A                N/A         Unknown
                                    85 Central Street, #204
Massachusetts Premier Soccer, LLC   Waltham, MA 02453                     Leasehold                     N/A                N/A         Unknown
                                    1 High Street Court
Legacy Global Sports, L.P.          Morristown, NJ 07960                  Leasehold                     N/A                N/A         Unknown




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                                        Appendix to Schedule A/B Question No. 60

                                                    Intellectual Property

Patents:                     None.

Patent Applications:         None.

Trademarks:                  None.

Trademark Applications:      None.

Service Marks:               None.

Service Mark Applications: None.

Copyrights:                  None.

Trade Names/Other Names Under Which Business is Transacted (Company or Subsidiary):

Trade Names for “Legacy Global Sports, L.P.”

    x   New Hampshire
          o Legacy Global Sports – Registered Trade Name
          o Action Youth – Registered Trade Name
          o Level 2 Sports – Registered Trade Name
          o Level 2 – Registered Trade Name
          o T3 Travel – Registered Trade Name
          o T3 – Trade Name
          o Team Tournament Travel – Registered Trade Name
          o PSE – Registered Trade Name
          o LGS Team Sales – Registered Trade Name
          o Swedsport Tournaments & Event – Registered Trade Name
          o Swedsport – Registered Trade Name

    x   Michigan

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             o Legacy Global Sports, Limited Partnership – Registered Trade Name




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Domain, SSL, & Webhosting Detailed Inventory
Domain Registrars               Phone #          Associated Email Address          Notes
GoDaddy                         480-463-8389     it-admin@legacyglobalsports.com   Domains
GoDaddy                         480-463-8390     it-admin@legacyglobalsports.com   SSL certificates for legacyglobalsports.com see Certificate Authority section below.
NameCheap                       chat only        it-admin@legacyglobalsports.com   Domains and SSL certificates
Ionos (1 & 1)                                    it-admin@legacyglobalsports.com   Currently using NO services and the contract has been cancelled. Will officially cancel on 8/15/2020.

Website Hosts                   Phone #          Associated Email Address          Notes
SportsEngine                                     it-admin@legacyglobalsports.com   Retiring GPS club sites and migrating to WP Engine
WP Engine                                        it-admin@legacyglobalsports.com   Main hosting service for company websites
Horizon Dynamic Web Design                                                         Past due. Website still controlled by Shannon Barrows.

Other Contacts                  Phone #          Email Address                     Notes
Danny Watts                     941-321-0093     danny@asinc.io                    Contractor who developes and maintains corporate websites

Certificate Authority           Phone #          Covered Subdomain                 Notes
GoDaddy                         480-463-8390     my.legacyglobalsports.com         Due for renewal in 2021 -- should be moved to Namecheap.
GoDaddy                         480-463-8391     api.legacyglobalsports.com        Due for renewal in 2021 -- should be moved to Namecheap.
GoDaddy                         480-463-8392     vendor.legacyglobalsports.com     Due for renewal in 2021 -- should be moved to Namecheap.
GoDaddy                         480-463-8393     dev.legacyglobalsports.com        Due for renewal in 2021 -- should be moved to Namecheap.
GoDaddy                         480-463-8394     admin.legacyglobalsports.com      Due for renewal in 2021 -- should be moved to Namecheap.

Domains                         Domain Host      Website Host                      Notes
actionyouth.com                 Namecheap Inc.   none                              Redirected to legacyglobalsports.com
atllaxtourney.com               Namecheap Inc.   none                              dead
bauermotownclassic.com          Namecheap Inc.   none                              Redirected to http://www.legacyglobalsports.com/page/show/2683446-bauer-motown-classic/
bedfordsoccerleague.com         Namecheap Inc.   none                              Redirected to https://www.gps-newhampshire.com/bsl/
big12lacrosse.com               GoDaddy          none                              Redirected to https://www.lgslacrosse.com/
collegesoccerchance.com         GoDaddy          none                              dead
collegesoccerscholarships.com   GoDaddy          none                              dead
cradleforthecure.net            Namecheap Inc.   none                              Redirected to https://www.lgslacrosse.com/event/cradle-for-the-cure/
eastcoastselects.com            Namecheap Inc.   none                              Redirected to https://www.selectshockey.com/
easterncanadaselects.com        Namecheap Inc.   none                              Redirected to https://www.selectshockey.com/
fireonicehockey.com             Namecheap Inc.   none                              Redirected to https://www.lgshockey.com/event/fire-on-ice/
globalpremier.soccer            Namecheap Inc.   none                              dead
globalpremieresoccer.com        GoDaddy          none                              dead
globalpremierfootball.com       GoDaddy          none                              dead
globalpremierscholarships.com   GoDaddy          none                              Redirected to https://internationalsoccer.academy/global-premier-scholarships/
globalpremiersoccer.ca          GoDaddy          SportsEngine                      bad SSL certificate
globalpremiersoccer.co.uk       Namecheap Inc.   SportsEngine



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globalpremiersoccer.com         Namecheap Inc.   WP Engine
globalpremiersoccer.info        GoDaddy          none                    dead
globalpremiersoccer.net         Namecheap Inc.   none                    Redirected to https://www.globalpremiersoccer.com/
globalpremiersoccer.org         GoDaddy          none                    dead
globalpremiersoccercanada.com   GoDaddy          none                    Redirected to https://www.gpsacademy.ca/
gpsacademy.ca                   GoDaddy          SportsEngine
gpsalbany.com                   GoDaddy          SportsEngine
gps-arizona.com                 GoDaddy          none                    dead
gps-california.com              GoDaddy          SportsEngine
gpscanada.net                   GoDaddy          none                    Redirected to https://www.gpsacademy.ca/
gps-carolina.com                Namecheap Inc.   SportsEngine
gpscoastalacademy.com           GoDaddy          SportsEngine
gps-colorado.com                GoDaddy          none                    dead
gpscompete.com                  GoDaddy          none                    Redirected to https://www.gps-massachusetts.com/gpscompete
gpsconnecticut.com              GoDaddy          SportsEngine
gps-connecticut.com             Namecheap Inc.   SportsEngine
gpsdelaware.com                 GoDaddy          SportsEngine
gpsdelawarerevolution.com       GoDaddy          none
gpsesports.com                  GoDaddy          none
gps-florida.net                 Namecheap Inc.   SportsEngine
gps-foundation.com              Namecheap Inc.   none                    dead
gps-foundation.org              GoDaddy          none                    dead
gps-georgia.com                 Namecheap Inc.   SPortsEngine            dead
gps-illinois.com                GoDaddy          none                    dead
gps-international.net           GoDaddy          none                    Redirected to https://internationalsoccer.academy/
gps-iowa.com                    Namecheap Inc.   none                    dead
gps-jersey.com                  Namecheap Inc.   SportsEngine
gps-kansas.com                  GoDaddy          none                    dead
gpskcnorth.com                  GoDaddy          none
gps-maine.com                   Namecheap Inc.   SportsEngine
gps-maryland.com                GoDaddy          none                    dead
gps-massachusetts.com           Namecheap Inc.   SportsEngine
gps-michigan.com                GoDaddy          none                    dead
gps-milanboston.com             Namecheap Inc.   none                    dead
gps-minnesota.com               GoDaddy          SportsEngine
gpsmissouri.com                 GoDaddy          SportsEngine            site is dead
gpsnasa.com                     GoDaddy          SportsEngine
gps-nevada.com                  GoDaddy          none                    dead
gps-newhampshire.com            Namecheap Inc.   SportsEngine
gps-newyork.com                 Namecheap Inc.   SportsEngine
gpsnewyorkcity.com              GoDaddy          SportsEngine            site is dead
gpsnorthshore.com               Namecheap Inc.   SportsEngine
gpsnorthshore.com               Namecheap Inc.   SportsEngine



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gps-oc.com                    GoDaddy          SportsEngine
gps-ohio.com                  GoDaddy          none
gps-orangecounty.com          GoDaddy          none                    dead
gpsoregon.com                 GoDaddy          SportsEngine            site is dead
gps-oregon.com                GoDaddy          SportsEngine            bad SSL certificate
gps-pennsylvania.com          GoDaddy          none                    dead
gpspuertorico.com             GoDaddy          SportsEngine
gpsrhodeisland.com            GoDaddy          WP Engine
gps-rhodeisland.com           Namecheap Inc.   SportsEngine
gps-sandiego.com              GoDaddy          none                    dead
gps-sanfrancisco.com          GoDaddy          none                    Redirected to https://www.gps-california.com/
gps-sd.com                    GoDaddy          SportsEngine
gps-see.com                   GoDaddy          none
gpssoccerassassins.com        Namecheap Inc.   WP Engine
gps-spain.net                 GoDaddy
gpssynergy.com                Namecheap Inc.   unknown                 We do not manage the website
gps-syracuse.com              Namecheap Inc.   SportsEngine
gpstechnicalarea.com          GoDaddy          SportsEngine
gps-texas.com                 GoDaddy          none
gpstorontosw.com              GoDaddy          SportsEngine            site is dead
gpstournaments.com            GoDaddy          none                    Redirected to https://globalpremiersoccer.com/events/
gpsvacationprograms.com       Namecheap Inc.   SportsEngine
gps-vermont.com               Namecheap Inc.   SportsEngine
gps-virginia.com              GoDaddy          none
gps-washington.com            GoDaddy          none
heatwavelax.com               Namecheap Inc.   none                    Redirected to https://www.lgslacrosse.com/event/heatwave-lacrosse-tournament/
hhofinvitational.com          Namecheap Inc.   WP Engine
hoflacrosseinvitational.com   GoDaddy          none
internationalsoccer.academy   Namecheap Inc.   WP Engine
laxlifeevents.com             Namecheap Inc.   none                    Redirected to https://www.lgslacrosse.com/?eventOrganization=25&view=map%2F
laxlifetournaments.com        Namecheap Inc.   none                    Redirected to https://www.lgslacrosse.com/?eventOrganization=25&view=map%2F
legacyglobalsports.ca         Namecheap Inc.   none                    Redirected to https://www.legacyglobalsports.com/
legacyglobalsports.com        Namecheap Inc.   WP Engine
legacyonlinefundraiser.com    Namecheap Inc.   none
legacysoccertours.com         GoDaddy          none
lgshockey.com                 Namecheap Inc.   WP Engine
lgslacrosse.com               Namecheap        WP Engine
lgssoccer.com                 GoDaddy          none                    Redirected to https://www.globalpremiersoccer.com/
lgssoccertours.com            Namecheap Inc.   none                    Redirected to https://www.legacyglobalsports.com/
lgstours.com                  Namecheap Inc.   SportsEngine
maverikprospectdays.com       GoDaddy          none                    Redirected to https://www.npe80.com/event/cascade-national-prospect-elite-80-2/
memorialdaytournament.com     Namecheap Inc.   WP Engine
mmajorlax.com                 GoDaddy          none



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motownclassicgear.com          Namecheap Inc.   none                         dead
mrshockeyinvite.com            Namecheap Inc.   WP Engine
nationallacrosseclassic.com    GoDaddy          none                         Redirected to https://www.lgslacrosse.com/event/national-lacrosse-academy/
nlcnation.com                  Namecheap Inc.   none                         dead
npe80.com                      Namecheap Inc.   WP Engine                    dead
pseeventhousing.com            Namecheap Inc.   none                         Redirected to https://psehousing.com/
pseeventhousing.net            Namecheap Inc.   none                         Redirected to https://psehousing.com/
psehousing.com                 Namecheap Inc.   WP Engine
psehousing.com                 Namecheap Inc.   WP Engine
satlacrosse.com                Namecheap Inc.   none                         Redirected to https://www.lgslacrosse.com/event/southern-alliance-tournament/
scoopituplax.com               GoDaddy          none
selectsacademy.com             Namecheap Inc.   none                         Redirected to https://www.selectshockey.com/
selectshockey.ca               Namecheap Inc.   none                         Redirected to https://www.selectshockey.com/north-america/
selectshockey.com              Namecheap Inc.   WP Engine
southernlacrosseshowcase.com   Namecheap Inc.   none                         Redirected to https://www.lgslacrosse.com/event/southern-lacrosse-showcase/
southernlaxshowcase.com        Namecheap Inc.   none                         Redirected to https://www.lgslacrosse.com/event/southern-lacrosse-showcase/
sportsevents.world             GoDaddy          WP Engine
sportstravel.world             GoDaddy          WP Engine
swedenselects.com              Namecheap Inc.   none                         Redirected to https://www.lgstours.com/selectshockey-sweden
t3lacrosse.com                 GoDaddy          WP Engine
t3lacrosse.info                GoDaddy          none
t3lacrosse.net                 GoDaddy          none
t3lacrosse.org                 GoDaddy          none                         Redirected to https://t3lacrosse.com
thedrafthockey.com             Namecheap Inc.   none                         Redirected to https://www.selectshockey.com/event/the-draft/
ti22sportswear.com             Namecheap Inc.   WP Engine
tournamenthotels.com           Namecheap Inc.   none                         Redirected to https://psehousing.com/
tournamenthotels.com           Namecheap Inc.   none                         Redirected to https://psehousing.com
tournamenthotels.net           GoDaddy          none                         Redirected to https://psehousing.com
travelteamusa.com              GoDaddy          Horizon Dynamic Web Design   Website controlled by Shannon Barrows
w7l.org                        Namecheap Inc.   none                         dead
westcoastselects.com           Namecheap Inc.   none                         Redirected to https://www.selectshockey.com/
westerncanadaselects.com       Namecheap Inc.   none                         Redirected to https://www.selectshockey.com/north-america/
wishbonelax.com                Namecheap Inc.   none                         Redirected tto https://www.lgslacrosse.com/event/wishbone-championships/
womanshockey.com               Namecheap Inc.   none                         dead
worldhockeyrankings.com        Namecheap Inc.   none                         dead
worldselects.com               Namecheap Inc.   none                         dead
worldselectsinvite.com         Namecheap Inc.   none                         Redirected to https://www.lgstours.com/worldselectsinvite
xflacademy.com                 Namecheap Inc.   none                         dead




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                                                                                                                                                       Appendix to Schedule A/B Question Nos. 64 & 65
                                                                                                                                                           Schedule of Goodwill and Intangibles

Legacy Global Sports, LP
Goodwill & Intangibles
December 31, 2019



                                                                                                                                                                                                                                                                       Accum. Amort.                       12                   Accum. Amort.                   NBV @
                    Account #                                              Description                      Cost Basis                  Placed in Service            Useful Life Estimate (Months)       Fully Amortized               Monthly Amortization              12/31/18                   2019 YTD Amort.               12/31/19                     12/31/19
                     140100                     Investment in Action Youth - Goodwill                                     1,112,250                         3/1/14                              120                          2/27/24                           9,269                   333,675                     111,225                      444,900                   667,350
                     140120                     Investment in PSE - Goodwill                                              2,461,711                         4/1/14                              120                          3/29/24                       20,514                      738,513                     246,171                      984,684                1,477,027
                     140150                     Goodwill GPS: Admin                                                              0                      10/31/16                                120                         10/29/26                              0                         0                              0                         0                            0
                     140180                     Goodwill - T3 Lacrosse                                                    3,773,830                    9/15/2018                                120                    9/12/2028                           31,449                   1,021,951                      377,383                   1,399,334                 2,374,496
                     140180                     Goodwill - T3 Housing                                                      736,701                     11/5/2015                                120                    11/2/2025                               6,139                                                   73,670                    73,670                   663,031
                     140180                     Goodwill - Level 2                                                         387,500                    12/23/2014                                120                   12/20/2024                               3,229                                                   38,750                    38,750                   348,750
                     140180                     Goodwill - F&B                                                                   0                      4/1/2016                                120                    3/30/2026                                  0                                                        0                         0                            0
                                                Goodwill - F&B - No Amortization to be taken - Eliminated                  877,128
                     140180                     Goodwill - First Scout                                                                                  4/1/2016                                120                    3/30/2026                               3,475                                                   38,226                                                     0
                     140180                     Goodwill - IHT                                                             232,375                     8/25/2016                                120                    8/23/2026                               1,936                                                   23,238                    23,238                   209,138
                     140180                     Goodwill - JWK                                                             280,695                     6/30/2016                                120                    6/28/2026                               2,339                                                   28,070                    28,070                   252,626
                     140180                     Goodwill - TTS                                                              44,676                     6/30/2016                                120                    6/28/2026                                372                                                     4,468                     4,468                    40,208
                     140180                     Goodwill - Prior Acq                                                       374,993                      Pre 2016                                120                         Various                            3,125                                                   37,499                    37,499                   337,494
                     140180                     Goodwill - TTUSA                                                            250,000                     1/1/2017                                120                   12/30/2026                            2,083                                                    25,000                     25,000                    225,000
                     140180                     Goodwill - MCC                                                              429,040                    5/10/2017                                120                     5/8/2027                            3,575                                                    42,904                     42,904                    386,136
                     140180                     Goodwill - HP                                                               183,750                     1/1/2017                                120                   12/30/2026                            1,531                                                    18,375                     18,375                    165,375
                                                                                                                         11,144,649                                                                                                                        89,038                   2,094,139                     1,064,978                  3,120,891
                                                                                                                                                                                                                                                                                2,094,139.00
                                                Consolidated Goodwill                                                10,267,521

                                                Location in COA
                                                Co 001                                                               10,517,520
                                                Co 007                                                                 (250,000) Historical PPA Adjustment per BDO to adjust for revenue improperly taken by Legacy
                                                                                                                     10,267,520


                                                                                                                                                                                                                                                                       Accum. Amort.                       12                   Accum. Amort.
                                                                                                            Cost Basis                  Placed in Service            Useful Life Estimate (Months)        Fully Amortized               Monthly Amortization             12/31/18                    2019 YTD Amort.              12/31/19
     Intangibles (Net of Amortization) - 1300
                      160000                    Exclusivity Rights                                                         140,000                        1/1/13                                120                         12/30/22                        1,167                       84,000                      14,000                       98,000                    42,000
                      160003                    Deferred Financing Fees/Legal Fees - PSE                                    24,375                        4/1/14                                 59                          3/31/19                          413                       23,549                         826                       24,375                         0
                      160003                    Deferred Financing Fees/Legal Fees - AY                                     61,621                        3/1/14                                 36                          2/28/17                        1,712                       61,621                           0                       61,621                         0
                                                Deferred Financing Fees/Legal Fees - IAS                                         0                        5/1/14                                 36                          4/30/17                            0                                                        0                            0                         0
                     160004                     PSE Non-Compete                                                            164,114                        4/1/14                                 60                          3/31/19                        2,735                     155,909                        8,205                      164,114                         0
                     160005                     PSE Customer List                                                          328,228                        4/1/14                                120                          3/29/24                        2,735                     155,909                       32,823                      188,732                   139,496
                     160006                     PSE Employment Contract                                                    328,228                        4/1/14                                 60                          3/31/19                        5,470                     311,817                       16,411                      328,228                         0
                     160007                     AY Non-Compete                                                              74,150                        3/1/14                                 36                          2/28/19                        2,060                      74,150                            0                       74,150                         0
                     160008                     AY Customer List                                                           296,600                        3/1/14                                120                          2/27/24                        2,472                     143,357                       29,660                      173,017                   123,583
                     160014                     Level 2 Sports Intellectual Property                                       387,500                      12/23/14                                120                         12/20/24                        3,229                     155,000                       38,750                      193,750                   193,750
                     160015                     T3 Covenant Not to Compete                                                 300,000                       11/5/15                                 60                          11/3/20                        5,000                     190,000                       60,000                      250,000                    50,000
                     160017                     T3 Contracts                                                               300,000                       11/5/15                                 60                          11/3/20                        5,000                     190,000                       60,000                      250,000                    50,000
                     160018                     FSP Customer List                                                                                        3/31/16                                120                          3/29/26                          474                      15,645                        5,215                                                      0
                     160019                     FSP Employment Contract                                                                                  3/31/16                                 60                          3/30/21                        1,389                      45,835                       15,278                                                      0
                     160020                     FSP Covenant not to Compete                                                                              3/31/16                                 60                          3/30/21                          948                      31,290                       10,430                                                      0
                     160021                     JWK Customer List                                                           15,750                       6/30/16                                120                          6/28/26                          131                       4,069                        1,575                       5,644                     10,106
                     160022                     JWK Non Compete                                                             15,750                       6/30/16                                 60                          6/29/21                          263                       8,138                        3,150                      11,288                      4,463
                     160023                     TTS Customer List                                                           10,000                       6/30/16                                120                          6/28/26                           83                       2,500                        1,000                       3,500                      6,500
                     160024                     IHT Customer List                                                          100,000                       8/31/16                                120                          8/29/26                          833                      23,333                       10,000                      33,333                     66,667
                     160025                     IHT Employee Contracts                                                      62,500                       8/31/16                                 60                          8/30/21                        1,042                      29,167                       12,500                      41,667                     20,833
                     160026                     IHT Non Compete                                                             93,750                       8/31/16                                 60                          8/30/21                        1,563                      43,750                       18,750                      62,500                     31,250
                     160027                     HP Non Compete                                                              12,250                        1/1/17                                 60                         12/31/21                          204                       4,900                        2,450                       7,350                      4,900
                     160028                     HP Customer List                                                            49,000                        1/1/17                                120                         12/30/26                          408                       9,800                        4,900                      14,700                     34,300
                     160029                     MCC Non Compete                                                            235,000                        5/1/17                                 60                          4/30/22                        3,917                      74,417                       47,000                     121,417                    113,583
                     160033                     TTUSA Customer Lists                                                       350,000                        1/1/17                                120                         12/30/26                        2,917                      70,000                       35,000                     105,000                    245,000
                     165003                     T3 LAX Employment Contracts - Lori Brown                                   457,650                       9/15/18                                 36                          9/12/28                       12,713                      50,850                      152,550                     203,400                    254,250
                     165003                     T3 LAX Employment Contracts - Brandt/Holley/Raichle                        533,360                       9/15/18                                 24                          9/12/28                       22,223                      88,893                      266,680                     355,573                    177,787
                     160030                     MCC Customer List                                                          235,000                        5/1/17                                120                          4/29/27                        1,958                      37,208                       23,500                      60,708                    174,292
                                                                                                                                                                                                                                                           83,059                   2,085,106                      870,653                   2,832,066
                                                Agrees to Co 001 Intangibles exlcuding T3 Software                        4,574,826
                                                                                                                                                                                                                                                                         Amortization Expense 1,935,631                                      5,952,957 Accumulated Amortization
                                                                                                                                                                                                                                                                                              775500                                           165000
                                                                                                                  (4,574,826.00)




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                            DATE: 5/18/2020
INSURER                                TERM                 PREMIUM          DESCRIPTION OF COVERAGE
Philadelphia Indemnity          1/1/2020 – 1/1/2021         $70,875.79       COMMERCIAL PACKAGE POLICY
Insurance Company
                                                            Direct Billing   COMMERCIAL PROPERTY SECTION
Policy No. PHPK2077416                                                       Schedule of Locations
                                                                                              th
                                                                             1. 3030 South 9 Street, Kalamazoo, MI 49009
                                                                             2. 210 Bellevue Ave, Upper Montclair, NJ 07043
                                                                             3. 15 Bay View Terrace, Geneva, NY 14456
                                                                             4. 155 State Route 94 Suite 7, Blairstown, NJ 07825
                                                                             5. 85 Central St. Ste 204, Waltham, MA 02453
                                                                             6. 426 Bridge St, Westbrook, ME 04092
                                                                             7. 360 Route 101 Ste 14C, Bedford, NH 03110
                                                                             8. 260 Hogan Rd, Fairport, NY 14450
                                                                             9. 1924 State Route 35 Unit 10, Wall Township, NJ 07719
                                                                             10. 2809 Wehrle Dr Suite 8, Buffalo, NY 14221
                                                                             11. 16 Maryland St, South Burlington, VT 05403
                                                                             12. 1974 Carolina Place Dr Ste 120, Fort Mill, SC 29708
                                                                             13. 5230 Ohio St, Winter Park, FL 32792
                                                                             14. 312 N Park Ave, Buffalo, NY 14216
                                                                                      th
                                                                             15. 214 8 St, Troy, NY 12180
                                                                             16. 119 Buck Rd, Glassboro, NJ 08028
                                                                             17. 125 Franklin Ave, Seaside Heights, NJ 08751
                                                                                        st
                                                                             18. 201 21 Ave, Seaside Park, NJ 08752
                                                                             19. 204 Oakland Ave, Providence, RI 02908
                                                                             20. 897 Fording Island Rd 1610, Bluffton, SC 29910
                                                                             21. 531 Didsbury Dr 106, Rock Hill, SC 29730
                                                                             22. 114 Summer View Rd, Summerville, SC 29486
                                                                             23. 192 Longsight Ln 101, Rock Hill, SC 29730
                                                                             24. 171 Longsight Ln 204, Rock Hill, SC 29730
                                                                             25. 3 Sawgrass Rd, Charleston, SC 29412
                                                                                  1




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                           actual policies for specific terms, conditions, limitations, and exclusions that will govern in the event of a loss.
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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                             DATE: 5/18/2020
INSURER                                TERM                 PREMIUM        DESCRIPTION OF COVERAGE
                                                                           26. 1212 Akers Ridge Dr, Atlanta, GA 30339
                                                                           27. 20 Roosevelt Blvd Ste A, Marmora, NJ 08223
                                                                           28. 854 Asbury Ave, Ocean City, NJ 08226
                                                                           29. 290 Heritage Ave #2, Portsmouth, NH 03801
                                                                           30. 500 Carlen Avenue, Lexington, SC 29072
                                                                           31. 3000 Millay Place Spartanburg, SC 29301
                                                                           32. 664 University Ave, Rochester, NY 14607
                                                                           33. 2950 W Square Lake Road Suite 101, Troy, MI 48098
                                                                           34. 777 Mantua Grove Rd, Life Storage, West Deptford, NJ 08066-1732
                                                                           35. 500 Carlen Avenue, Lexington, SC 29072
                                                                           36. 402 Mt Kemble Ave, Morristown, NJ 07960
                                                                           37. 1713 Bridges St, Morehead City, NC 28557
                                                                           38. 900 Old Fashioned Way, Newport, NC 28570
                                                                           39. 1140 Crosspointe Ln Ste 3, Webster, NY 14580
                                                                           40. 300 Campus Lane, Bluffton, SC 29909
                                                                           41. 4474 Post Rd, Ste 203, East Greenwich, RI 02818-4124
                                                                           42. 102 Bobwhite Cir, Cape Carteret, NC 28584-9776
                                                                           43. 7 Simmonsville Rd, Ste 100, Bluffton, SC 29910-6908

                                                                           Limits of Liability
                                                                           $10,900             Loc. 2 Business Personal Property
                                                                           $10,000             Loc. 3 Business Personal Property
                                                                           $10,900             Loc. 4 Business Personal Property
                                                                           $50,000             Loc. 5 Business Personal Property
                                                                           $5,000              Loc. 6 Business Personal Property
                                                                           $5,000              Loc. 7 Business Personal Property
                                                                           $5,000              Loc. 9 Business Personal Property
                                                                           $10,000             Loc. 10 Business Personal Property
                                                                           $150,000            Loc. 29 Business Personal Property
                                                                                2




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                             DATE: 5/18/2020
INSURER                                TERM                 PREMIUM        DESCRIPTION OF COVERAGE
                                                                           $2,500         Loc. 32 Business Personal Property
                                                                           $50,000        Loc. 33 Business Personal Property
                                                                           $10,000        Loc. 34 Business Personal Property
                                                                           $20,000        Loc. 36 Business Personal Property
                                                                           $5,000         Loc. 37 Business Personal Property
                                                                           $23,000        Loc. 39 Business Personal Property
                                                                           $5,000         Loc. 43 Business Personal Property
                                                                           Deductibles
                                                                           $1,000         Deductible – Location #37 only
                                                                           $5,000         Deductibles – All others

                                                                           COMMERCIAL GENERAL LIABILITY SECTION
                                                                           Limits of Liability
                                                                           $3,000,000          General Aggregate
                                                                           $3,000,000          Products/Completed Operations Aggregate
                                                                           $1,000,000          Personal & Advertising Injury
                                                                           $1,000,000          Each Occurrence
                                                                           $1,000,000          Employee Benefits
                                                                           $100,000            Rented to You Limit
                                                                           Excluded            Medical Expense Limit
                                                                           $1,000,000          Employee Benefits Liability – Claims Made (Retro Date: 1/1/2019)
                                                                           $3,000,000          Employee Benefits Liability - Aggregate
                                                                           $1,000,000          Sexual Abuse Molestation - Occurrence
                                                                           $2,000,000          Sexual Abuse Molestation - Aggregate

                                                                           INLAND MARINE SECTION
                                                                           Limits of Liability
                                                                           $150,000            Misc. Property Floater – Location #29 only
                                                                           $143,112            Scheduled Property- Camera Equipment
                                                                                3




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     INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                                 DATE: 5/18/2020
INSURER                                  TERM                 PREMIUM            DESCRIPTION OF COVERAGE
                                                                                 $10,000        Leased/Rented Equipment

                                                                                 Deductibles
                                                                                 $500             Deductible - Leased/Rented Equipment
                                                                                 $1,000           Deductible – All others

Hartford Fire Insurance          1/1/2020 – 1/1/2021           $12,021           BUSINESS AUTO POLICY
Company                                                        (MA Only)         Limits of Liability
                                                                                 $1,000,000          Liability (CSL)
                                                             Direct Billing
Policy No. 08 UEN BA7919                                                         $5,000              Medical Payments (each person)
                                                                                 $1,000,000          Uninsured Motorists (per accident)
                                                                                 $1,000,000          Underinsured Motorists (per accident)
                                                                                 $1,000              Comprehensive/OTC (Deductible)
                                                                                 $1,000              Collision (Deductible)
                                                                                 $50                 Towing

                                                                                 Schedule of Vehicles & Drivers
                                                                                 SEE ATTACHMENT 20-21 Schedule of Vehicles and Drivers 2.24.20.xlsx

Hartford Fire Insurance          1/1/2020 – 1/1/2021          $140,851           BUSINESS AUTO POLICY
Company                                                     (All Other States)   Limits of Liability
                                                                                 $1,000,000          Liability (CSL)
                                                             Direct Billing
Policy No. 08 UEN BA7902                                                         $5,000              Medical Payments (each person)
                                                                                 $1,000,000          Uninsured Motorists (per accident)
                                                                                 $1,000,000          Underinsured Motorists (per accident)
                                                                                 $1,000              Comprehensive/OTC (Deductible)
                                                                                 $1,000              Collision (Deductible)
                                                                                 $50                 Towing
                                                                                 $1,000,000          Hired & Non-Owned Auto Liability
                                                                                      4




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     INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                            DATE: 5/18/2020
INSURER                                 TERM                 PREMIUM         DESCRIPTION OF COVERAGE

                                                                             Schedule of Vehicles & Drivers
                                                                             SEE ATTACHMENT 20-21 Schedule of Vehicles and Drivers 2.24.20.xlsx

Navigators Insurance            1/1/2020 – 1/1/2021           $75,000        EXCESS AUTO POLICY
Company                                                                      Limits of Liability
                                                            Direct Billing   $6,000,000          Liability (CSL)
Policy No.
BO20EXRZ0400YIV                                                              Schedule of Underlying Policies
                                                                             Auto Liability – MA Only (Hartford)
                                                                             Auto Liability – AOS (Hartford)

Multiple Hartford               1/1/2020 – 1/1/2021          $134,858        WORKERS COMPENSATION POLICY
Companies                                                                    WORKERS COMPENSATION SECTION:
                                                            Direct Billing   Statutory Benefits – State of Hire
Policy No. 08 WE AE6L4J                                                      Covered States: MO, IN, NV, OK, PA, MI, KY, TN, VA, IA, NH, FL, NM, WI, RI, CO, AZ, NY, DC,
                                                                             MN, IL, ME, KS, DE, OR, NC, GA, TX, VT, SC, WV, NJ, CT, MD, MA, CA
                                                                             (Flat Charge for EL and Voluntary WC in Monopolistic Fund States: ND, OH, WA and WY)

                                                                             EMPLOYERS LIABILITY SECTION:
                                                                             $1,000,000    Each Accident
                                                                             $1,000,000    Disease- Policy Limit
                                                                             $1,000,000    Disease- Each Employee

                                                                             Schedule of Payroll Exposures
                                                                             $83,813,350      Total Payroll
                                                                             SEE ATTACHMENT 20-21 Renewal Payroll Workbook.xlsx

Philadelphia Indemnity          1/1/2020 – 1/1/2021           $19,284        COMMERCIAL UMBRELLA POLICY
                                                                                   5




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     INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                              DATE: 5/18/2020
INSURER                                  TERM                 PREMIUM          DESCRIPTION OF COVERAGE
Insurance Company                                                              Limits of Liability
                                                             Direct Billing    $6,000,000          Each Occurrence Limit
Policy No. PHUB705454                                                          $6,000,000          General Aggregate Limit
                                                                               $6,000,000          Personal/Advertising Injury Limit
                                                                               $6,000,000          Products Completed Operations Aggregate Limit
                                                                               $10,000             Retained Limit

                                                                               Schedule of Underlying Policies
                                                                               Domestic General Liability (Philadelphia Indemnity Ins Co)
                                                                               Domestic Employee Benefits Liability (Philadelphia Indemnity Ins Co)
                                                                               Domestic Employer’s Liability (Hartford)
                                                                               Foreign General Liability (World Risk-AIG)
                                                                               Foreign Employer’s Liability (World Risk-AIG)


United States Fire Insurance     1/1/2020 – 1/1/2021            $3,740         ACCIDENTAL HEALTH POLICY
Company                                                                        Limits of Liability
                                                             Agency Billing    $50,000             Medical Expense (any one person)
Policy No. UMA7745A
                                                                               Deductibles
                                                                               $500             Deductible

Lloyds 2016 – AXIS               3/1/2020 – 3/1/2021          $1,759.32        GENERAL LIABILITY POLICY (including Professional) – CANADIAN COVERAGE
(Regal)                                                         (includes      Limits of Liability
                                                              taxes & fees)
                                                                               $5,000,000          Aggregate
Policy No. L02751
                                                            Agency Billed by
                                                                               Deductibles
                                                            Regal Insurance
                                                               Brokers         $0/$500          Deductible

                                                                                    6




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                            DATE: 5/18/2020
INSURER                                 TERM                 PREMIUM         DESCRIPTION OF COVERAGE
                                                                             Exposure
                                                                             $300,000       Gross Receipts
                                                                             310            Total Soccer Participants
                                                                             300            Participants < 18
                                                                             10             Participants >18
                                                                             10             Coaches/trainers

The Insurance Company of       5/18/2020 – 5/18/2021          $6,000         FOREIGN LIABILITY POLICY
The State of Pennsylvania
(AIG)                                                       Direct Billing   GENERAL LIABILITY
                                                                             Limits of Liability
Policy No. WS11013231                                                        $4,000,000          Program Aggregate
                                                                             $2,000,000          General Aggregate
                                                                             $2,000,000          Products/Completed Operations Aggregate
                                                                             $1,000,000          Personal & Advertising Injury
                                                                             $1,000,000          Each Occurrence
                                                                             $1,000,000          Fire Damage
                                                                             $50,000             Medical Expense
                                                                             $50,000             Medical Expense
                                                                             $300,000            Crisis Response Aggregate
                                                                             $250,000            Crisis Response Costs
                                                                             $50,000             Crisis Management Loss
                                                                             $1,000,000          Employee Benefits Liability

                                                                             WORKERS COMPENSATION
                                                                             Limits of Liability
                                                                             $1,000,000          Each Accident
                                                                             $1,000,000          Disease- Policy Limit
                                                                             $1,000,000          Disease- Each Employee
                                                                                  7




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                            DATE: 5/18/2020
INSURER                                 TERM                 PREMIUM         DESCRIPTION OF COVERAGE
                                                                             $1,000,000     Repatriation Expense

                                                                             KIDNAP & RANSOM
                                                                             Limits of Liability
                                                                             $2,500,000          Aggregate
                                                                             $250,000            Ransom
                                                                             $250,000            In-Transit/Deliver
                                                                             $250,000            Expenses
                                                                             $250,000            Consultant Expenses
                                                                             $250,000            Judgements, Settlements and Defense
                                                                             $10,000             Death or Dismemberment
                                                                             $10,000             Disappearance
                                                                             $10,000             Hostage Crisis
                                                                             $25,000             Threat
                                                                             $10,000             Express Kidnapping

Westchester Surplus Lines      5/18/2020 – 5/18/2021        $43,881.76       MANAGEMENT LIABILITY POLICY – D&O, EPLI, FIDUCIARY
Insurance Company                                          (includes 4% MA   Aggregate Limits
                                                               SL Taxes)
(Vanbridge)                                                                  $2,000,000       Aggregate
                                                            Agency Billing
Policy No. G71132286 003                                                     D&O Limits of Liability
                                                                             $2,000,000       Per Claim
                                                                             $100,000         Retention

                                                                             EPLI Limits of Liability
                                                                             $2,000,000         Per Claim
                                                                             $100,000           Retention

                                                                             Fiduciary Limits of Liability
                                                                                  8




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     INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                           DATE: 5/18/2020
INSURER                                 TERM                 PREMIUM         DESCRIPTION OF COVERAGE
                                                                             $1,000,000     Per Claim
                                                                             $0             Retention

                                                                             Pending and Prior Litigation Dates:
                                                                             5/18/2017       Management and Company Liability
                                                                             5/18/2017       Employment Practices Liability
                                                                             5/18/2017       Fiduciary Liability

AXIS Surplus Insurance         5/18/2020 – 5/18/2021          $31,200        EXCESS MANAGEMENT LIABILITY POLICY
Company                                                    (includes 4% MA   Limits
                                                               SL Taxes)
(Vanbridge)                                                                  $2,000,000   Excess of $2,000,000 D&O Liability
                                                                             $1,000,000   Excess of $2,000,000 Employment Practices Liability
                                                            Agency Billing
Policy No.
P-001-000353316-01                                                           Underlying Policy
                                                                             G71132286 003 Westchester Surplus Lines Insurance Company

                                                                             ** Includes Specific Claim or Circumstance Exclusion Endorsement

Hanover Insurance Company      5/18/2020 – 5/18/2021           $3,343        CRIME POLICY
                                                                             Limits of Liability
                                                            Agency Billing   $1,000,000          Employee Theft
Policy No. BDY-D587562-01                                                    $1,000,000          ERISA
                                                                             $1,000,000          Forgery or Alteration
                                                                             $1,000,000          Theft of Money and Securities
                                                                             $1,000,000          Money and Securities
                                                                             $1,000,000          Computer Fraud
                                                                             $1,000,000          Funds Transfer Fraud
                                                                             $1,000,000          Money Orders and Counterfeit Paper Currency
                                                                             $1,000,000          Credit Debit or Charge Card Fraud
                                                                                  9




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                               DATE: 5/18/2020
INSURER                                 TERM                 PREMIUM         DESCRIPTION OF COVERAGE
                                                                             $1,000,000     Personal Accounts Protection Forgery and Identity Fraud Reimbursement
                                                                             $75,000        Fund Transfer Fraud- False Pretense Coverage

                                                                             Deductibles
                                                                             $10,000           All Deductibles

Axis Insurance Company         5/18/2020 – 5/18/2021           $7,769        CYBER LIABILITY
(Vanbridge)                                                                  Limits of Liability
                                                            Agency Billing   $1,000,000          Per Claim
Policy No.                                                                   $1,000,000          Aggregate
P-001-000025162-03                                                           $10,000             Retention
                                                                             Retroactive Date: 5/18/2018

                                                                             Limits of Liability
                                                                             $1,000,000          Enterprise Security Event Liability
                                                                             $1,000,000          Web-Site Media Liability
                                                                             $1,000,000          Data Security Fines
                                                                             $1,000,000          Privacy Regulation
                                                                             $1,000,000          Crisis Management
                                                                             $1,000,000          Fraud Response Expense
                                                                             $1,000,000          Public Relations
                                                                             $1,000,000          Forensic & Legal Expense
                                                                             $1,000,000          Extortion Loss
                                                                             $50,000             Extortion Threat Recovery
                                                                             $1,000,000          Ransomware Loss
                                                                             $100,000            Social Engineering Fraud Loss
                                                                             $100,000            Telecommunication Theft Loss
                                                                             $1,000,000          Business Interruption- Service Disruption
                                                                             $1,000,000          Business Interruption- Service Disruption
                                                                                 10




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    INSURANCE SUMMARY FOR: Legacy Global Sports LP                                                                           DATE: 5/18/2020
INSURER                                TERM                 PREMIUM        DESCRIPTION OF COVERAGE
                                                                           $1,000,000     Business Interruption- System Failure
                                                                           $1,000,000     Data Recovery Expense




                                                                                11




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                                                                       Schedule of Casues of Action Against Third Parties

 Defendant / Potential Defendant               Counsel                         Caption (if filed)         Venue                                Nature of Case                                       Status
Joseph Bradley                   Mary Katherine Geraghty                 LGS Management, LLC v.     JAMS arbitration     Based on acquisition of GPS                                 Filed demand in December; have
                                 Burns & Levinson, LLP                   Joseph Bradley and Peter   Portsmouth, NH       Fraudulent inducement.                                      agreed to push selecting arbitrator
Peter Bradley                    125 High Street                         Bradley                                         Breaches of fiduciary duty by Joe Bradley as CEO of GPS. thus far; would rather see him
                                 Boston, MA 02110                                                                                                                                    criminally charged; had to file
                                 mgeraghty@burnslev.com                                                                  Claims that Bradleys hid illegal conduct (visa fraud, etc.) because of S/L (had had tolling
                                                                                                                         from Legacy when selling 80% interest in GPS to Legacy agreements but other side refused
                                                                                                                         and then after acquisition, conducted outside of GPS by     to renew).
                                                                                                                         forming businesses to exclusion and at expense of GPS.

                                                                                                                         Alleged fraudulent concealment of extent of violation of
                                                                                                                         federal immigration laws.

                                                                                                                         Company's financial statmeents overstated revenue,
                                                                                                                         understated expenses, mistated value of Company's
                                                                                                                         assets and operations.

                                                                                                                         Unlawful activity has led to federal grand jury investigation,
                                                                                                                         search warrant executed.




Surf Cup Sports, LLC d/b/a New    Charlotte Marie Petilla                Massachusetts Premier      US District Court for Claims based on alleged conversion of GPS's social media Done; never quantified in terms of
England Surf Soccer Club, South   C. Max Perlman                         Soccer, LLC v. Surf Cup    the District of       pages. Claims include false advertising and promotion,   damages
Carolina Soccer Club and San      Hirsch Roberts Weinstein LLP           Sports, LLC et al          Massachusetts         tortious interference, breach of non-competition
Diego Surf Soccer Club            24 Federal Street, 12th Floor          20-cv-10430                                      obligations, conspiracy, unfair and deceptive trade      4/3/20 - Settlement Agreement
                                  Boston, MA 02110                                                                        practices, unfair competition.
Luke Krawczyk                     max@hrwlawyers.com                                                                                                                               4/10/20 - Notice of Voluntary
                                  cpetilla@hrwlawyers.com                                                                                                                          Dismissal of all claims with
Andrew Prosser                    (Counsel for Surf Cup Sports, LLC)                                                                                                               prejudice

                                  Christopher W. Sanzone
                                  Sanzone & McCarthy LLP
                                  981 Worcester St, Suite 1A
                                  Wellesley, MA 02482
                                  chris@sanzonemccarthy.com
                                  (Counsel for Krawczyk and Prosser)
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Burns & Levinson                  Matthew C. Moschella                      Massachusetts Premier        Massachusetts        Claims for legal malpractice based on alleged                   2/18/2020 - Amended Complaint
                                  Christopher Blazejewski                   Soccer LLC d/b/a Global      Superior Court,      representation of other parties in matters adverse to GPS's
Thomas T. Reith                   Sherin and Lodgen LLP                     Premier Soccer v. Burns &    Suffolk County       interests while GPS was current and former client; failing to   5/01/20 - Voluntary Dimissal of
                                  101 Federal Street                        Levinson LLP, Thomas T.                           use due care in legal advice to GPS. Claim for excessive        Count III (Injunctive Relief) in part
Mary Katherine Geraghty           Boston, MA 02110                          Reith, Mary Katherine                             and unreasonable billing.                                       as result of resolution of case
                                  mcmoschella@sherin.com                    Geraghty, and Perry A.                                                                                            against Surf et al.
Perry A. Henderson Jr. a/k/a Andy cblazejewski@sherin.com                   Henderson Jr. a/k/a "Andy
Henderson                                                                   Henderson"                                                                                                        5/18/20 - Burns & Levinson
                                                                            2084CV00398                                                                                                       Opposition to Plaintiff's Emergency
                                                                                                                                                                                              Motion for Expedited Discovery of
                                                                                                                                                                                              Plaintiff's Client Files

                                                                                                                                                                                              5/19/20 - Plaintiff's Reply in Further
                                                                                                                                                                                              Support of Motion for Expedited
                                                                                                                                                                                              Discovery Concerning Plaintiff's
                                                                                                                                                                                              Client Files




John St. Pierre                    Christopher H.M. Carter                  Legacy Global Sports, L.P. v. Superior Court of   Claims that defendants engaged in competitive business          Defendant filed TRO; denied
                                   Daniel M. Deschenes                      John St. Pierre, Travis Bezio New Hampshire,      activity (development of ice rinks and youth hockey             9/17/2019
Travis Bezio                       Owen R. Graham                           and North Atlantic Hockey,    Merrimack County    programs in violation of noncompete).
                                   Hinckley Allen                           LLC d/b/a The Rinks at Exeter                                                                                     Plaintiff filed TRO; denied
North Atlantic Hockey, LLC d/b/a   650 Elm Street, Suite 500                                                                  Claim for breach of fiduciary duty against St. Pierre and       11/21/2019
The Rinks at Exeter                Manchester, NH 03101                     218-2019-CV-00198                                 Rinks at Exeter.
                                   ccarter@hinckleyallen.com                                                                                                                                  12/18/2019 - Second Amended
                                   ddeschenes@hinckleyallen.com                                                               Claim for breach of fiduciary duty of loyalty against Bezio     Complaint
                                   ograham@hinckleyallen.com                                                                  and Rinks at Exeter.
                                   (Counsel for St. Pierre)                                                                                                                                   12/30/2019 - Bezio Answer and
                                                                                                                                                                                              Counterclaims
                                   Arnold Rosenblatt
                                   Kathleen M. Mahan                                                                                                                                          12/31/2019 - St. Pierre Answer &
                                   Cook, Little, Rosenblatt & Manson,                                                                                                                         Counterclaims
                                   PLLC
                                   1000 Elm Street, 20th Floor                                                                                                                                4/27/20 - Order on motions to
                                   Manchester, NH 03101                                                                                                                                       dismiss - motions granted in part
                                   a.rosenblatt@clrm.com                                                                                                                                      and denied in part (dismissing all
                                   k.mahan@clrm.com                                                                                                                                           claims against The Rinks)
                                   (Counsel for Travis Bezio and Rinks at
                                   Exeter)                                                                                                                                                    5/6/2020 - Plaintiff filed motion to
                                                                                                                                                                                              reconsider dismissal of claims vs.
                                                                                                                                                                                              The Rinks
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Vendor Name                                                     Address                                          City                 State                 Zipcode      Amount
The Siegfried Group LLP                                         1201 N. Market Street                            Wilmington           DE                    19801          1,475,140.55
Locke Lord LLP                                                  2800 Financial Plaza                             Providence           RI                    02903            703,741.53
GPS - AMEX Corporate                                                                                                                                                         458,059.78
BDO USA LLP                                                     PO Box 642743                                    Pittsburgh           PA                    15264-2743       287,928.89
ICI Headquarters Group LLC                                      290 Heritage Ave                                 Portsmouth           NH                    03801            230,217.00
Jefferson River Capital LLC                                     1330 Avenue of the Americas                      New York             NY                    10019            187,915.66
RSM US LLP                                                      5155 Paysphere Circle                            Chicago              IL                    60674            168,322.36
LGS - AMEX Corporate                                                                                                                                                         133,943.14
GPS UK Apprenticeship Agency Limited                            Unit 3 GPS House                                 Beenham              Reading               RG7 5NF          119,227.64
OMF consultoria deportiva 2017, SL (GPS Spain TorFX)            Carrer de Salvador Allende, 7, 2º                La Vall d'Uixó       SPN                   12600            112,691.00
Hartford Insurance Company                                      PO Box 660916                                    Dallas               TX                    75266            105,441.65
The Fessenden School                                            250 Waltham Street                               West Newton          MA                    02465             96,860.12
Innovative V, LLC                                               1629 4th Avenue SE                               Decatur              AL                    35601             84,070.00
Massachusetts Youth Soccer Association                          512 Old Union Turnpike                           Lancaster            MA                    01523             68,572.61
Robert Half Finance & Accounting                                PO Box 743295                                    Los Angeles          CA                    90074-3295        67,071.97
Woburn Public Schools                                           55 Locust Street                                 Woburn               MA                    1801              53,861.02
GPS - Chase                                                                                                                                                                   51,664.37
Pollack Solomon Duffy LLP                                       101 Huntington Avenue                            Boston               MA                    02199             51,411.69
SAJE Enterprises LLC                                            8 Cornwall Court                                 East Brunswick       NJ                    08816             39,437.75
Insight Direct USA, Inc                                         6820 S. Harl Ave                                 Tempe                AZ                    85283             37,817.48
GreatHorn, Inc.                                                 260 Charles Street                               Waltham              MA                    02453             37,213.00
Sport Center 481                                                6841 Collamer Rd                                 East Syracuse        NY                    13057             36,582.00
HubSpot, Inc.                                                   PO Box 419842                                    Boston               MA                    02241-9842        36,146.00
Hilton Prague - Quinn Hotels Praha a.s.                         Pobřežní 1                                       Prague 8             Hlavni mesto Praha    186 00            34,908.78
Town of Medway                                                  155 Village St                                   Medway               MA                    02053             34,200.00
New England Futbol Club                                         31 David Street                                  Holliston            MA                    01746             33,795.00
Four Points by Sheraton Bolzano                                 Via B. Buozzi Str. 35                            Bozen                Trentino-Alto Adige   39100             33,398.99
Bosse Sports Training                                           280 Worcester Road                               Framingham           MA                    01702             32,682.19
Hopkinton Parks and Recreation                                  85 Main Street                                   Hopkinton            MA                    01748             31,775.00
Elm Park Capital Management, LLC                                2300 N. Field Street                             Dallas               TX                    75201             30,581.63
Afrim Sports Inc                                                636 Albany Shaker Road                           Albany               NY                    12205             30,240.00
Zondervan Enterprises LLC                                       PO Box 19394                                                                                                  29,856.00
Portland Sports Complex                                         512 Warren Avenue                                Portland             SC                    4103              29,375.00
Bay State Hockey LLC (Jr. Bruins Hockey)                                                                                                                                      28,575.95
Wide World of Indoor Sports                                                                                                                                                   27,409.25
WorldStrides Sports                                             3060 Washington Rd, Rt 97                        Glenwood             MD                    21738             27,111.99
QDiscovery LLC                                                  125 Eugene O'Neill Drive                         New London           CT                    06320             27,076.97
Fairfield Inn & Suites in Fort Wayne, IN                        6021 Lima Road                                   Fort Wayne           IN                    46818             26,957.50
IST Plus                                                        Shakespeare Business Centre                      London               Lambeth               SW98RR            25,435.38
DeGrace Group                                                   5 Cabot Road, #461                               Medford              MA                    02155             24,450.00
Monroe Community Sports Centre Corp                             2700 Brighton-Henrietta Townline Road                                                                         23,937.50
St. Louis Youth Soccer Association                              10733 Sunset Office Drive                        Sunset Hills         MO                    63127             23,627.00
Harvard Pilgrim Health Care                                     P.O. BOX 970050                                  Boston               MA                    02297             23,175.50
St. Marks School                                                25 Marlboro Road                                 Southborough         MA                    01772             23,162.50
Champro Sports                                                  Dept 8049                                        Carol Stream         IL                    60197-5998        23,038.16
RTSW SFM, LLC                                                   Rocky Top Sports World                           Gatlinburg           TN                    37738             22,998.19
Dell EMC                                                        PO Box 802816                                    Chicago              IL                    60680             22,971.96
Gitch Sportswear Inc.                                           9-1140 Sheppard Avenue West                      North York           ON                    M3K 2A2           22,470.00
Danvers Indoor Sports LLC                                       150 R Andover Street                             Danvers              MA                    01923             20,850.00
Triangle Volleyball Club INC                                    121 Competition Center Drive                     Morrisville          NC                    27560             20,850.00
GPS - AMEX SPG                                                                                                                                                                20,736.43
FCUSA Coastal                                                   210 Malapardis Road                              Cedar Knolls         NJ                    07927             20,315.00
Pittsburgh Penguins Elite Amateur Hockey                                                                                                                                      20,000.00
Buffalo State College Foundation                                1300 Elmwood Avenue                              Buffalo              NY                    14222             19,702.50
St John's Preparatory School                                    72 Spring St                                     Danvers              MA                    01923             18,760.00
VolleyFX Volleyball Club                                        PO Box 132                                       Penfield             NY                    14526             18,315.00
OREA Hotels s.r.o.                                              Na Pankráci 1062/58                              Praha 4              Hlavni mesto Praha    14000             17,774.48
Susan Gang Consulting LLC                                       1402 Terrace View Drive                          Cedar Park           TX                    78613             17,502.01
Pinnacle Athletics LLC                                          7600 Pinnacle Road                               victor               NY                    14564             17,212.50
Lynch Hockey LLC                                                PO Box 37                                        Manville             RI                    02838             16,869.02
Northeast Futsal Association                                    71 Trotting Park Road                            Lowell               MA                    01854             16,868.86
NOVOTEL GENEVA CENTRE                                           19 Rue de Zurich                                 Geneva               Geneve                1201              16,603.61
Houston Dynamo Dash Youth Soccer Club                           c/o Youth Soccer Club of Montgomery County Inc   The Woodlands        TX                    77380             16,252.00
Ref Check LLC                                                   P.O. Box 643778                                  Vero Beach           FL                    32964             16,080.00
Skillsoft Corporation                                           300 Innovation Way, Suite 201                    Nashua               NH                    03062             15,999.25
Second Mile Marketing                                           618 S Gay Street                                 Knoxville            TN                    37902             15,900.00
HOF Village, LLC                                                4020 Kinross Lakes Parkway Suite 200             Richfield            OH                    44286             15,580.00
Town of Weymouth - Recreation Department                                                                                                                                      15,450.00
ASINC LLC                                                       6601 Pebble Beach Way                            Lakewood Ranch       FL                    34202             15,000.00
CRR, LLP                                                        545 Salem Street                                 Wakefield            MA                    01880             15,000.00
Twenty-Nine Palms Economic Development Corporation              46200 Harrison Place                             Coachella            CA                    92236             14,960.00
Acton-Boxborough Regional School District Community Education   16 Charter Road                                  Acton                MA                    01720             14,775.00
Dwyer Arena                                                                                                                                                                   14,131.25
Charles River School                                            6 Old Meadow Road                                Dover                MA                    02030             14,000.00
Mission Awards Inc                                              2030 Tonawanda Road                              Giaun                MI                    49637             13,961.00
New York State West Youth Soccer Association                                                                                                                                  13,762.50
Lexington County Soccer Club                                    411 N Lake Dr                                    Lexington            SC                    29072             13,675.00
Quick Start Camps                                               16 Highland St                                   Woburn               MA                    01801             13,650.00
Holliston Youth Soccer Association                              PO Box 6003                                      Holliston            MA                    01746             12,875.00
PlanSource Benefits Administration, Inc.                                                                                                                                      12,830.40
PGA Tournament Corporation, Inc                                 100 Ave of the Champions                         Palm Beach Gardens   FL                    33418             12,570.50
Alliance Volleyball Club                                        215 Gothic Court                                 Franklin             TN                    37067             12,220.00
City of Warwick (Thayer and Warburton Arenas)                   925 Sandy Lane                                                                                                12,180.00
Ten Talents LLC                                                 16461 Bricker Road                               Covington            LA                    70433             11,540.00
City of Trenton                                                 Trenton Kennedy Recreation Center                                                                             11,519.24
Sportsplex of Halfmoon                                          6 Corporate Drive                                Clifton Park         NY                    12065             11,500.00
MetroWest YMCA, Inc.                                            280 Old Connecticut Path                         Framingham           MA                    01701             11,455.00
Hockey Hall of Fame                                             Brookfield Place                                 Toronto              ON                    M5E1X8            11,307.00
Dedham Public Schools                                                                                                                                                         11,001.87
Princeton Elite Soccer Academy Inc                              PO BOX 534                                       Princeton            NJ                    08542             10,800.00
Smithfield Municipal Ice Rink                                   P.O. Box 17121                                                                                                10,518.75
JWK Hockey, Inc.                                                80 Houston Ave                                                                                                10,382.51
Seacoast United Sports Club, Inc.                               311 Winnacunnet Rd                               Hampton              NH                    03843-0779        10,200.00
CM8 Soccer Consulting & Management                              7 West St, STE 11                                Walpole              MA                    02081              9,975.00
Elite Futsal Charleston                                                                                                                                                        9,850.00
Los Angeles Jr. Kings                                           P.O. Box 50204                                                                                                 9,772.00




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GLS Associates INC                                             7 Parkridge Rd                   Haverhill            MA                01835        9,665.75
Saint John's High School                                       378 Main Street                  Shrewsbury           MA                01545        9,642.35
Higher Level LLC                                                                                                                                    9,505.80
Sports Recruits LLC                                            15 MetroTech Center              Brooklyn             NY                11201        9,375.00
LREH California LLC                                            Building - Haverhill             Troy                 MI                48099        9,350.14
The Summit Sports and Ice Complex                              9410 Davis Hwy                   Dimondale            MI                48821        9,350.00
Brian DeWitt                                                   140 Spencer Road                 Basking Ridge        NJ                07920        9,287.50
Central Street Limited Partnership                             85 Central Street                Waltham              MA                02454-0351   9,258.32
BB Hockey Group                                                6577 Pine Ridge Circle           Clarkston            MI                48346        9,239.40
Cool Sports LLC                                                110 South Watt Rd                Knoxville            TN                37934        9,128.99
Katrin Kaarna                                                  664 University Ave               Rochester            NY                14607        8,850.00
Town of Falmouth                                                                                                                                    8,812.50
Futsal NH LLC                                                                                                                                       8,770.00
Belmont Day School                                             55 Day School Lane               Belmont              MA                02478        8,760.00
Aspia AB                                                       Taby C Box 2904                  Taby                 Stockholms Lan    18314        8,487.60
Ignite HCM LLC                                                 3613 Byron Circle                Frederick            MD                21704        8,250.00
UNE Athletics                                                  11 Hills Beach Rd                                                                    8,187.90
Metropolitan Collision                                         765 Military Road                Buffalo              NY                14216        8,011.91
New York State Hockey Officials Association                                                                                                         7,716.00
NXT Sports LLC                                                                                                                                      7,700.00
United States Hockey League (USHL)                             850 W Jackson Blvd               Chicago              TN                60607        7,685.00
Steel City Selects Girls Hockey Association                    c/o 40 Baierl Ice Complex                                                            7,540.00
CDW Direct                                                     P. O. Box 75723                  Chicago              IL                60675-5723   7,334.87
Ciotech                                                                                                                                             7,245.00
Southern Hockey Tournaments, LLC                               411 Hickory Fairway Ct           Woodstock            GA                30188        7,125.00
Aurora Ice Association, Inc.                                   41 Riley Street                  East Aurora          NY                14052        7,046.67
Florida Kraze Krush                                                                                                                                 7,017.50
TSC Ice LLC                                                    1535 Washington Street           Braintree            MA                02184        6,575.00
GPS Conquistadores Inc                                                                                                                              6,548.83
Virginia Rush Soccer, Inc.                                     2044 Landstown Centre Way        Virginia Beach       VA                23456        6,512.00
Allsport Soccer Arena LLC                                      Old Ferry Road                   Northampton          MA                01061        6,480.00
Town of West Warwick - Ice Rink                                 100 Factory Street              West Warwick         RI                02893        6,443.75
Boss Ice Arena - URI                                           1 Keaney Rd                                                                          6,325.00
Setterwalls Advokatbyrå AB                                     Stortorget 23                    Malmö                Skane Lan         SE-203 20    6,280.45
Sheraton Greensboro                                            3121 W Gate City Blvd            Greensboro           NC                27407        6,060.90
The Winsor School                                              103 Pilgrim Rd                   Boston               MA                02115        6,059.00
En Masse 360 LLC                                               1 High St Court                  Morristown           NJ                07960        6,039.78
The U at Starland / University Sports Complex                  645 Washington Street            Hanover              MA                02339        6,000.00
Goodmans LLP                                                   333 Bay Street                   Toronto              ON                M5H 2S7      6,000.00
HRC Total Solutions                                                                                                                                 5,980.60
Narragansett School Department                                 235 South Pier Road              Narragansett         RI                02882        5,885.61
Maxwell Medals & Awards                                                                                                                             5,859.40
Freeman Development LLC,                                                                                                                            5,657.14
Rochester Institute of Technology                              25 Lomb Memorial Drive           Rochester            NY                14623-5608   5,624.00
US Youth Soccer Association                                    PO Box 1928                      Frisco               TX                75034        5,600.00
DoubleTree by Hilton, Denver-Aurora                            13696 E Iliff Place              Aurora               CO                80014        5,535.25
Skeltons Foreign Auto LLC                                      364 State Road                   Bath                 ME                04530        5,450.00
UPMC Lemieux Sports Complex                                    8000 Cranberry Springs Drive     Cranberry Township   MI                16066        5,420.00
T3 Travel                                                      11519 Kingston Pike              Knoxville            TN                37934        5,297.06
WeGotSoccer                                                    99 Washington St.                Foxboro              MA                02035        5,261.58
Walnut Hill School for the Arts                                12 Highland Street               Natick               MA                01760        5,175.00
The Williston Northampton School                               19 Payson Avenue                 Easthampton          MA                01027        5,000.00
Tilton School                                                  30 School Street                 Tilton               NH                03276        5,000.00
Robert Wood Johnson University Hospital Somerset               110 Rehill Ave                   Somerville           NJ                08876        4,917.00
Liverpool Football Club                                        175 Danielson Pike #116          North Scituate       RI                02857        4,865.00
LGS - Provident ARC                                                                                                                                 4,837.47
LGS - BOA Debit Card                                                                                                                                4,781.29
Kelly Knapp                                                    83 HILLCREST RD                  Fair Haven           NJ                07704        4,750.00
A.J. Kiddie Trust                                              657 Congress Street              Portland             ME                04101        4,712.55
Nichols School-Dann Memorial Rink                                                                                                                   4,450.00
3 OOO LLC                                                      85 Bridge Ave                    Bay Head             NJ                08742        4,400.00
Bedford Sports Center, LLC (The Edge Sports Center)                                                                                                 4,372.50
Forekicks III - Taunton                                        223 Fremont Street               Taunton              MA                02780        4,360.00
Jason Nicholetts                                                                                                                                    4,350.00
Wheaton College Department of Athletics                        26 East Main Street              Norton               MA                02766        4,325.00
Mike Craigen                                                   412 Marine Road West             Knoxville            TN                37920        4,218.95
Lenti Law, P.A.                                                217 N Westmonte Dr, Suite 1004   Altamonte Springs    FL                32714        4,200.00
PretiFlaherty                                                  P.O. Box 9546                    Portland             ME                04112-9546   4,176.25
DE TURF Regional Sports Complex                                4000 Bay Road                    Frederica            DE                19946        4,148.00
Academia Puertorriquena de Arbitros de Futbol                  PMB 141 Box 4956                 Caguas               Puerto Rico       00726        4,080.00
Cathedral of Praise                                                                                                                                 4,000.00
Thomas Gustafson                                               9327 Chapel Street               Portage              MI                49024        4,000.00
MPGG Properties LLC                                                                                                                                 3,900.00
S&S Events Inc.                                                1855 N Banana River Dr.          Merritt Island       FL                32952        3,876.00
Flyers Skate Zone - Voorhees                                                                                                                        3,875.00
Christopher Collins                                            2830 Baird road                  Fairport             NY                14450        3,820.01
The College of Saint Rose                                                                                                                           3,795.00
ICENTER                                                        60 Lowell Rd                     Salem                NH                03079        3,783.35
Jada Blitz Training LLC                                        4685 Transit Rd                  Williamsville        NY                14221        3,780.00
TGA Cross Insurance                                            Emily LeBlanc                    Wakefield            MA                01880        3,740.00
RB Real Enterprises                                            207 East Linden Ave              East Rochester       NY                14445        3,660.00
933 Building, LLC                                                                                                                                   3,575.48
Sean O'Brien                                                                                                                                        3,560.00
SC Automotive Engineering                                      7335 Cross County Road           North Charleston     SC                29418        3,500.00
Seacoast Spartans                                              40 Industrial Drive              Exeter               NH                03833        3,485.05
Resolute Lacrosse LLC                                          3599 Chiller Lane                Columbus             OH                43219        3,463.20
SJ Rink Cafes LLC                                              11 Boothby Drive                 Mount Laurel         NJ                08054        3,336.56
Premier Development League, LLC                                                                                                                     3,300.00
East Carolina University                                       Campus Living Finance            Greenville           NC                27858        3,257.29
City of Apopka, Florida                                                                                                                             3,237.60
Gorham Sports Center                                           215 Narragansett Street          Gorham               ME                04038        3,200.00
US Specialty Coatings                                          1000 mcfarland 400 blvd          alpharetta           GA                30564        3,127.00
Payball                                                        17 Crest Road                    Norwalk              CT                06853        3,057.68
CIEE                                                           300 Fore St                      Portland             ME                04101        3,050.00
John Paul II Catholic School                                                                                                                        3,000.00
FC Stars of Massachusetts, Inc.                                30 Great Road                    Acton                MA                01720        2,900.00
MVP Team Gear                                                  912 Mt Kemble Ave                Morristown           NJ                07960        2,871.93
James Island Youth Soccer Club                                 PO Box 12752                     James Island         SC                29422        2,857.35
Creative Church INC                                            P.O Box 310                      Hardeeville          SC                29927        2,817.19




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Compete Indoor Sports                                      576 Pleasant Street                                            Norwood           MA             02062        2,750.00
Leon Brown                                                                                                                                                              2,690.00
Chili Soccer Association                                   PO Box 109                                                     North Chili       NY             14514        2,620.00
TeamSportsInfo.com                                         171 Gambel Lane                                                Sedona            AZ             86336        2,555.00
Town of Watertown                                                                                                                                                       2,520.00
Halebro                                                                                                                                                                 2,500.00
Greater Binghamton Sports Complex                          1500 Airport Road                                              Binghamton        NY             13905        2,500.00
David A Halligan                                           2 Greenway Drive                                               Falmouth          ME             04105        2,500.00
Players Development Academy (PDA)                          31 Roebling Road                                               Bernardsville     NJ             07924        2,400.00
STEPS Lacrosse                                             11 Red Oak Row                                                 Chester           NJ             07930        2,400.00
Asbury Venture LLC                                         3217 Salerno Way                                               Philadelphia      PA             19145        2,370.00
East Rochester Union Free Schools                          222 Woodbine Avenue                                            East Rochester    NY             14445        2,340.00
Town of Dover                                              29 Cross Street                                                Dover             MA             02030        2,310.00
Perinton Youth Hockey, Inc.                                PO Box 1001                                                    Fairport          NY             14450        2,310.00
Gilman Surge, LLC                                          261 West 5th                                                   Boston            MA             02127        2,305.60
Lakefront Soccer Club                                      865 Publishers Parkway                                         Webster           NY             14580        2,250.00
Harvest Lacrosse, LLC                                      748 Eastwood Circle                                            Webster           NY             14580        2,220.00
Sidekicks Sports Academy                                   8 Birnam Place                                                 Ferny Grove       Queensland     4055         2,200.00
Samuel Monks                                               317 Brick Blvd                                                 Brick             NJ             08723        2,150.60
New England Baseball Enterprises LLC                       PO Box 919                                                     Northborough      MA             01532        2,145.00
I-Business Network                                         2617 Sandy Plains Road                                         Marietta          GA             30066        2,125.00
Greentree Church                                                                                                                                                        2,100.00
Discoveries Soccer Club                                                                                                                                                 2,085.00
Christiano Development                                     1273 Hertel Avenue                                             Buffalo           NY             14216        2,050.00
The Boks Project LLC                                       519 Tenby Terrace                                              Manchester        MO             63011        2,045.50
W.K. McKinley Inc.                                         1273 Hertel Avenue                                             Buffalo           NY             14621        2,035.00
Maxwell Collins                                            31 S Main St.                                                  Natick            MA             01760        2,000.00
XL Soccer World Orlando LLC                                                                                                                                             2,000.00
Tri-County Community Action Agency                                                                                                                                      2,000.00
Upper Township                                                                                                                                                          2,000.00
3STEP Sports LLC                                           50-E Concord Street                                            Wilmington        MA             01887        2,000.00
City of Rock Hill Parks, Recreation and Tourism            P.O. Box 11706                                                 Rock Hill         SC             29731-1706   2,000.00
The Rink at Lehigh Valley                                  3323 7th Street                                                Whitehall         PA             18052        2,000.00
Heather Pozen                                              61 Montvale Crescent                                           Newton            MA             02459        2,000.00
Charleston Southern University- Women's Soccer Buc Club    9200 University Blvd                                           Charleston        SC             29406        2,000.00
RIchard Gold                                               247 Tappan Street                                              Brookline         MA             02445        2,000.00
Aaron Esposito                                             3 Foster Lane                                                                                                2,000.00
National Soccer Events (NSE)                               2742 Berringer Station Lane                                    Knoxville         CO             37932        1,990.00
Greg Meehan - Meehan Design                                33 St. Phelims Pl.                                             Cavan Town        Cavan          00000        1,920.00
North Forest Properties E LLC                              P.O. Box 3107                                                  Buffalo           NY             14240-3107   1,849.93
City of Niagara Falls                                                                                                                                                   1,842.83
Marina Bay Sportsplex LLC                                  260 Victory Road                                               Quincy            MA             02171        1,841.50
Gary Mueller                                                                                                                                                            1,800.00
Burrillville School Department                             PO Box 464                                                                                                   1,800.00
Red Coat Sports Inc                                        403 Main Street                                                Buffalo           NY             14203        1,775.00
Distribution Services                                      755 Crossover Lane                                             Memphis           TN             38117        1,759.39
Morris & Morris, P.C.                                      32 Kearney Road                                                Needham Heights   MA             02494        1,750.00
Greece United Futbol Club, INC                             PO Box 26828                                                   Rochester         NY             14626        1,750.00
Christa Grable                                             8 Bock Lane                                                    Baden             PA             15005        1,750.00
Pittsburgh Hockey Academy                                  118 Sylvan Spring Lane                                         Valencia          PA             16059        1,750.00
LGS - UPS                                                                                                                                                               1,746.04
LECOM HarborCenter                                                                                                                                                      1,710.00
Connor Misset                                              1381 Guernseytown Road                                         Watertown         CT             06795        1,690.36
Pennington Athletic Club                                   1440 Lower Ferry Rd                                            Ewing             NJ             08618        1,687.50
Massachusetts Futsal Association                                                                                                                                        1,650.00
664 U Ave, LLC                                             259 Alexander Street                                            Rochester        NY             14607        1,650.00
Irvine Unified School District                             100 Nightmist                                                  Irvine            CA             92618        1,632.00
Inveera Technologies LLC                                   25 Gabriel Ln                                                                                                1,618.00
Buckingham Properties                                                                                                                                                   1,575.00
Retire My Number                                           8554 Bell Crescent                                             Niagara Falls     ON             L2G6Y4       1,545.00
Coelho (Elisa) De Sousa Brito                              317 Brick Blvd                                                 Brick             NJ             08723        1,520.00
Francisco António Ferro Cardoso Baptista                   Avenida Dr.José Maria Cardoso, 23, 4º frente                   Lousã             Coimbra        3200-202     1,500.00
FAR POST SOCCER CLUB INC                                   PO BOX 5575                                                    ESSEX JUNCTION    VT             05454        1,500.00
LI Elite Showcases                                         52 bayview ave west                                            Lindenhurst       NY             11757        1,500.00
Christopher Jordan                                         1412 Franklin Crossing Rd.                                     Franklin          MA             02038        1,500.00
Hazel Park Arena                                                                                                                                                        1,500.00
Kelley Walton                                              845 Pipestone Dr.                                              Columbus          OH             43235        1,495.00
Harter Secrest & Emery LLP                                 1600 Bausch & Lomb Place                                       Rochester         NY             14604        1,489.80
Sean Graham                                                426 Bridge Street                                                                                            1,486.85
Daniel Chouinard                                           77 Groveland Ave                                               South Weymouth    MA             02190        1,485.00
Solomon Apartment Management LLC                           701 London Square Dr                                           Clifton Park      NY             12065        1,465.00
Reading Public Schools                                     Facilities Rental Department                                   Reading           MA             01867        1,463.00
Glenstone Lodge Gatlinburg                                 504 Historic Nature Trail                                      Gatlinburg        TN             37738        1,450.15
Hunain Ali                                                 L2455 Metroville 3rd Near Paradise Bakery Abul Isphanai Road   Karachi           Sindh          0            1,416.00
Evan DeVitto                                               398 Manhattan Avenue, Apt 2R                                   Brooklyn          NY             11211        1,414.38
Thomas Obara                                               11 Day Street                                                  Norfolk           MA             02056        1,400.00
Cory Holmes                                                2085 Hammond Ave                                               Marriottsville    MD             21104        1,380.00
College Life Italia LLC                                    5646 Holmes St                                                 Kansas City       MO             64110        1,377.11
Given (Simphiwe) Maqubela                                  19th Clifton Country Road                                      Clifton Park      NY             12065        1,314.52
Ocean View Properties                                      P. O. Box 385                                                  Montrose          CA             91021        1,300.00
Bob Gannon                                                 963 Parkside Avenue                                            Buffalo           NY             14216        1,295.00
Fayerweather Street School                                 765 Concord Avenue                                             Cambridge         MA             02138        1,275.00
Niagara Bauer Hockey Challenge                             7871 Carl Road                                                                                               1,271.25
Cherokee Soccer Association, Inc.                          157 Railroad St                                                Canton            GA             30114        1,270.00
Embassy Suites Tulsa                                       3332 S 79th E Ave                                              Tulsa             OK             74145        1,251.39
Paul Worsley                                               433 Walnut St                                                  Wyandotte         MI             48192        1,250.00
Gustin Properties LLC                                      68 Sullivan Street                                             Manchester        NH             03102        1,250.00
Northtown Center at Amherst                                                                                                                                             1,218.34
Ecofutbol PR inc                                           PO BOX 364801                                                  San Juan          Puerto Rico    00936        1,200.02
Spero Homes LLC                                            20 Radcliffe Ave.                                              Providence        RI             02908        1,200.00
Town of Sherborn - Recreation Department                   19 Washington Street                                           Sherborn          MA             01770        1,200.00
Woodcliff Hotel & Spa                                      199 Woodcliff Dr.                                              Fairport          NY             13057        1,176.48
Sportsplex Inc                                             90 Ridge Road                                                  North Tonawanda   NY             14120        1,150.00
Kreezee Corporation                                        CP 25008, CP Jean Gauvin                                       Quebec            QC             G1X 5A3      1,138.25
City of Westbrook                                                                                                                                                       1,138.17
GotSoccer LLC                                                                                                                                                           1,128.00
Carolina Football Club                                     P.O. Box 170343                                                Spartanburg       SC             29301        1,122.60
Ross Hill                                                                                                                                                               1,120.00
Wall Knights AYF and Cheer                                 Po box 71                                                      Sea Girt          NJ             08750        1,120.00




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Avicore Reporting                                      814 Elm St                               Manchester         NH            03101        1,090.50
Waza Mutambirwa                                        317 Brick Blvd                           Brick              NJ            08723        1,080.00
Internal Revenue Service                                                                                                                      1,067.68
Elite Tournaments                                      9160 Rumsey Rd                           Columbia           MD            21045        1,060.00
ExpandaBrand Inc.                                      1005 Alderman Drive                      Alpharetta         GA            30005        1,010.01
Maxwell Philpott                                       547 Mt Pleasant Avenue                   Providence         RI            02908        1,000.00
James Greenwood                                        547 Mt Pleasant Ave                      Providence         RI            02908        1,000.00
Tiffany Conklin                                        610 Woodlawn Drive                       Bradenton          FL            34210        1,000.00
John A Burnworth                                       2609 Fallen Oak Circle                   Massillon          OH            44646        1,000.00
Zionsville Youth Soccer Association                    P.O. Box 5041                            Zoinsville         IN            46077        1,000.00
Benjamin Altarescu                                     276 GREENPOINT AVE                       Brooklyn           NY            11222        1,000.00
Boston Public Schools - FAC MGT                        1216 Dorchester Ave                      Dorchester         MA            02125        1,000.00
ForeKicks - Norfolk                                                                                                                             990.00
Kathleen Finnegan                                      432 ELM ST                               Stirling           NJ            07980          970.00
Great Lakes Alliance LLP                               13940 Cedar Rd                           Cleveland          NH            44118          970.00
SanMar Corp                                            PO Box 643693                            Cincinnati         OH            45264-3693     965.34
Town of Gorham - Gorham Recreation                                                                                                              925.25
Alexis Newman                                          90 Hiawatha Trail                        Medford Lakes      NJ            08055          920.00
Benjamin Murphy                                        373 Commonwealth Rd                      Wayland            MA            01778          919.52
Josh Shields                                           800 N. Connecticut                       Royal Oak          MI            48067          900.00
Schuyler Sports Complex, LLC                           PO Box 145                               Chadwicks          NY            13319          900.00
Nicholas M Zotos                                       239 Roxbury Drive                        Ofallon            MO            63366          900.00
Quintin Anton Smith                                    9010 Six Rivers Lane                     Missouri City      TX            77459          900.00
Kara Mannion                                           97 Peach Hill Road                       Berlin             MA            01503          900.00
Amanda Harney                                          44 Millers Lane                          Montville          NJ            07045          895.00
US LAX Events                                          131 Eisenhower Lane North                Lombard            IL            60148          880.00
Holiday Inn Express Cheektowaga NE                     c/o Jaibali INC Eidelweiss Ski Lodge     Cheektowaga        NY            14225          872.00
LGS - Provident Debit Card                                                                                                                      869.56
Stefano Reis Gomes                                     133 University Ave                       Lowell             MA            01854          846.00
Florida Elite Soccer Academy                           87 Weymouth Lane                         Palm Coast         FL            32164          845.00
Shan Jones                                             85 Central Street                        Waltham            MA            02453          840.00
Pennsylvania Classics AC                               118 Doreen Drive                         Hummelstown        PA            17036          830.00
Maeve Moran                                                                                                                                     828.00
Adam Christie                                          85 Central Street                        Waltham            MA            02453          815.99
CET Management UK Limited                              14 Beech Avenue                          Mancehster         Manchester    M224JE         800.00
Prague Boats s.r.o.                                    Nad Vavruskou 19                                                                         787.85
Clear Skies Fun Foods                                                                                                                           780.00
Niagara Frontier Association                           105 Starlite Ave                         Cheektowaga        NY            14227          750.00
Travers Printing Inc.                                  32 Mission Street                        Gardner            MA            01440          740.00
Nolan Villeneuve                                       8 Rutledge Road                          Bedford            NH            03110          725.06
Marc J Fritsche                                        3403 W. Zuni Brave Trail                                                                 715.41
Aaron McGarvey                                         4500 Great Oak Dr                        North Charleston   SC            29418          703.05
Auburn Place Hotel & Suites                            3265 William St                          Cape Girardeau     MO            63703          686.00
James Morgan                                           192 Longsight Lane                       Rock Hill          SC            29730          680.67
Joshua N Pickering                                     317 Brick Blvd, Suite 110                Brick              NJ            08723          680.00
GOF, LLC                                               PO Box 120897                            Nashville          TN            37212          665.00
GameSheet Inc                                          389 Millard Ave                          Newmarket          ON            L341Z8         658.00
Kings Hammer Soccer LLC                                50 east rivercenter blvd, suite 1410     covington          KY            41011          650.00
Union Volleyball Club                                  PO Box 642                               PeWee Valley       KY            40056          620.00
All Sports Assigning                                   270 Barclay Court                        Rochester          NY            14612          608.75
COGENCY GLOBAL INC                                     122 E 42nd St 18th FL                    New York           NY            10168          606.72
Thomas McEnery                                                                                                                                  600.00
Moravian College                                       1200 Main Street                         Bethlehem          PA            18018          600.00
Stormers Soccer Club Inc                               19 Bradford Road                         Rochester          NY            14618          599.21
Sahlens Sports Park                                                                                                                             595.00
Eric M Pritchard                                       227 Chamberlain Road                     Honeoye Falls      NY            14472          595.00
BSN Sports LLC                                                                                                                                  585.76
Titanium Endeavors LLC                                 2205 Botanica Circle                     Melbourne          FL            32904          585.00
The Athletic Campus LLC                                3195 Brighton Henrietta Town Line Road   Rochester          NY            14623          585.00
Simrita Johal-Virk                                     9371 164 A St                            Surrey             BC            V4N5S3         575.02
Johnson Law Associates PC                              4474 Post Road                           East Greenwich     RI            02818          550.00
Seashore Soccer League INC                             4915 Arendell St. Ste J., PMB 134        Morehead City      NC            28557          540.00
Hampton Inn & Suites Knoxville Turkey Creek            11340 Campbell Lakes Drive               Knoxville          TN            37934          539.46
Top Hockey Sweden                                                                                                                               535.55
City of Tega Cay                                       7725 Tega Cay Drive                      Tega Cay           SC            29708          530.00
University of Michigan Dearborn Athletics              4901 Evergreen Road                                                                      530.00
Residence Inn Franklin Cool Springs                    2009 Meridian Boulevard                  Franklin           TN            37067          512.14
Erica Cudeyro                                          405 Lincoln Ave                          West Berlin        NJ            08091          500.00
Sasha Ristic                                                                                                                                    498.31
Game Day USA                                           PO Box 5667                                                                              481.75
Sheraton Sand Key Resort                                                                                                                        481.50
Victoria Stojanoski                                    51378 Blue Spruce Dr                     Macomb             MI            48042          480.00
Stephanie Stefanovski                                  51852 Blue Spruce Dr                     Macomb             MI            48042          480.00
Amber Neumann                                          872 Koches Ave                           Brick              NJ            08724          480.00
Tyler Evans                                            26918 Miela Dr                           Chesterfield       MI            48051          480.00
Rachel Elliot                                          8 Pleasant View Ave                      Northwood          NH            03261          474.14
Swithin Elijah Joseph                                  51684 Blue Spruce Drive                  Macomb             MI            48042          472.50
Danielle Bay                                           155 Lincoln Road                         Phillipsburg       NJ            08865          470.00
William Wilson                                         12 Lake View Drive                       Lake Saint Louis   MO            63367          456.58
Memory to Video Productions, LLC                       2522 Woodward Ave                        Detroit            MI            48201          450.00
Lansingburgh Central School District                   576 Fifth Avenue                         Troy               NY            12182          430.00
Rita's Office Cleaning Specialist                      393 Boynton St                           Bedford            NH            03110          420.00
Genesee Community College                              One College Rd                           Batavia            NY            14020          400.00
William Czaja                                          26 Basket Lane                           Portland           ME            04103          400.00
Venus Sinson                                           14 Oakley Blvd                           Scarborough        ON            M1P 3P2        400.00
Ashburn Xtreme LA                                      42670 Explorer Dr                        Brambleton         VA            20148          400.00
Springhill Suites North Canton                         5770 Dressler Rd NW                      North Canton       OH            44720          395.50
Greater Rochester Visitors Association                 45 East Avenue                           Rochester          NY            14604          395.00
Moksha Hotels                                          2227 Old Fort Pkwy                       Murfreesboro       TN            37129          390.36
Electric Bricks LLC                                    PO Box 275                               Moriches           NY            11955          390.00
Matthew Kindred                                        31560 Bridge St.                         Garden City        MI            48135          375.00
Residence Inn Waltham, MA                                                                                                                       366.73
Robert Gasior                                          2 FOX CT                                 SOMERSWORTH        NH            03878-1435     358.96
Dayna Martinetto                                       80 Meadow Ct                             Manorville         NY            11949          350.00
Worcester Physical Therapy Services Inc.               30 Glennie St                            Worcester          MA            01605          340.00
AMgC Sports                                            16424 Magnolia Bluff Drive               Montverde          FL            34756-3511     334.69
Brandon Smith                                          22 Maxfield Drive                        Orono              ME            04473          333.33
Cade Lawitzke                                          51258 Pinewood Dr                        Macomb             MI            48042          320.00
Anthony W Conaway                                      1516 Westbury Dr                         Davison            MI            48423          315.00




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Jacqueline L Holmes                                      324 Winthrop Street                     Medford               MA    02155        315.00
Alliance Reservations Network                            428 E. Thunderbird Road, #247                                                    309.00
Lauren Armellino                                                                                                                          305.00
Ciardelli Fuel Company Inc                               467 Nashua Street                       Milford               NH    03055        302.59
Richard Newton                                           76 Farm Hill Rd.                        Leominster            MA    01453        300.00
Aaron Ghent                                              2331 Rolling Ridge Dr                   Avon                  NY    14414        300.00
07 NCFC White South G                                    2301 Redbridge Ln                       Apex                  NC    27502        300.00
The Cart Guy                                             465 Tunnel Rd.                          Rowe                  MA    01367        284.38
Grow To Pro Baseball Group LLC                           21 Saxony Road                          Pittsford             NY    14534        280.00
Fairport Swimming, Inc.                                  PO Box 81                               Fairport              NY    14450        270.00
Robert E Brucken II                                      19 Outlook Avenue                       Budd Lake             NJ    07828        260.00
Life Storage                                             777 Mantua Grove Rd                     West Deptford         NJ    08066        256.72
Columbia Sussex Corporation                              740 Centre View Blvd                    Crestview Hills       KY    41017        253.89
Tomas J Minto                                            219 W Walnut                            Kalamazoo             MI    49007        250.30
Oshawa Kicks Soccer Club                                 1401 Phillip Murray Avenue              Oshawa                ON    L1J 8C4      250.00
Erin E Allen                                             2094 Edge Road                          Syosset               NY    11791        240.00
Lori Vessie                                              38 Malcolm Street                       Waldwick              NJ    07643        225.00
David Fazekas                                            5308 Spring Road                        Verona                NY    13478        225.00
Rachel E Smith                                                                                                                            225.00
Patrick Keary                                            426 bridge street                       portland              ME    04102        221.76
Fusion Lacrosse LLC                                      604 West Chestnut Street                West Chester          PA    19380        216.00
True Lacrosse Utah                                       2123 East Pinnacle Terrace Way          Salt Lake City        UT    84121        216.00
Rochester District Youth Soccer League, Inc.                                                                                              208.00
Donovan Bewick                                           1892 Chelsea Ct.                        Rochester Hill        MI    48306        200.00
Bradley Merola                                           2156 Keystone Dr                        Sterling Heights      MI    48310        200.00
Flemington Falcons Football Association, Inc.            1 Thames Lane                           Flemington            NJ    08822        200.00
SUNY Geneseo                                             1 College Circle                        Geneseo               NY    14454        200.00
Maddison Lesher                                          1355 Colton Rd                          Gladwyne              PA    19035        200.00
John Kukawinski                                          52837 Karon Dr.                         Macomb                MI    48042        195.00
Shanice Janae Bennett                                    104 Memphis court                       Ladson                SC    29456        195.00
Spartan Custom, LLC                                      310 Southport Road                      Roebuck               SC    29376        192.07
Lori Brown                                               15 Cherry Lane                          Basking Ridge         NJ    07920        190.80
Warren Van Blommestein                                   85 Central Street                       Waltham               MA    02453        187.52
Iron Mountain                                            P. O. Box 27128                         New York              NY    10087-7128   185.24
Dylan Barrett                                                                                                                             184.65
John Devaney                                             4 Brentwood Dr                          Jackson Township      NJ    08527        180.00
Hockey Plus                                              337 Red Fox Lane                                                                 180.00
Prep Network, LLC                                        6901 East Finish Line Road, Suite 188   Maple Grove           MN    55369        180.00
Aitor Fuentes Pares                                      2809 Wehrle Dr                          Williamsville         NY    14221        177.68
Burrstone Inn                                            1777 Burrstone Rd                       New Hartford          NY    13413        175.00
Blaine Soccer Club                                       1700 105th Ave NE                       Blaine                MN    55449        170.60
Lloyd Bruce Miller                                       400 Victoria Boulevard                  Buffalo               NY    14217        162.00
Leonard (Lenny) Webb                                     60 Zephyr Lake Rd                       Greenfield            NH    03047        156.95
Benito Salazar                                           511 North Ave NE                        Massillon             OH    44646        150.00
Centennial Community Education                           4707 North Road                         Circle Pines          MN    55014        150.00
Scottsville Ice Arena                                    PO Box 93015                            Rochester             NY    14692        150.00
Martin Kenny                                             933 Lee Rd                              Orlando               FL    32810        147.00
United States Box Lacrosse Association                   14938 Camden Ave                        San Jose              CA    95124        140.00
Country of Monroe, New York                              39 west main street                     Rochester             NY    14614        140.00
Gary Witts                                               805 Tanglewood Dr NE                    Massillon             OH    44646        135.00
Jersey Central Power & Light                                                                                                              129.82
Anthony Roy                                              6821 Black horse Pike,apt 402           Egg harbor Township   NJ    08234        129.60
Howard & Howard Attorneys PLLC                           450 West Fourth Street                  Royal Oak             MI    48067        123.00
Fabio Alexandre Felix                                    1807 Hertel Avenue                      Buffalo               NY    14216        121.15
Ryan Louis                                                                                                                                120.00
Brian Oliver                                             228 N Creek Crossing                    Rochester             NY    14612        120.00
Robert Flannery Jr                                       18614 Bungalow Dr                       Lathrup Village       MI    48076        120.00
McBlynn DT Lodging, LP                                   975 East Lancaster Ave                  Downingtown           PA    19335        119.60
David Cleckley                                           81 Patricks Run                         Stoughton             MA    02072        111.24
Sebastien Dixon                                                                                                                           109.69
The Roslyn Hotel                                         1221 Old Northern Blvd                  Roslyn                NY    11576        107.60
Jordan Sullivan                                          120 E Linden Ave                        Rochester             NY    14445        106.00
Vermont Department of Taxes                                                                                                               101.91
Gatlinburg Hospitality Association                       P.O. Box 1368                           Gatlinburg            TN    37738        100.00
Days Inn Richmond South                                  6910 Midlothian Tnpk.                   Richmond              VA    23225         90.09
Total Sports Experience LLC                                                                                                                90.00
Scott Graham                                             664 University Avenue                   Rochester             NY    14607         85.99
Keith Miller                                             11624 Bingham St                        Cerrtios              CA    90703         85.18
Jack Taylor                                              10 Sandhill Rd                          Hudson                NH    03051         80.22
Sean Hallas                                              800 Genesee Street                      Buffalo               NY    14036         80.00
Brian Patterson                                                                                                                            77.41
Marcus Littlefield                                                                                                                         76.50
Calum Jeffrey                                            19 Clifton Country Rd                   Clifton Park          NY    12065         75.00
Calvin Lewis Wickens                                     278 Bouckhart Ave                       Rochester             NY    14622         75.00
Michael Waddell                                          10061 Sterling Ave                      Allen Park            MI    48101         75.00
Matthew Bambrick                                         1247 Chateau Drive                      San Jose              CA    95120         68.64
Jonathan Dark                                                                                                                              68.20
Jackie Matzirakis                                        2213 Wolford Circle                     Franklin              TN    37067         66.00
Emilio Ycaza                                             1100 Tortuga Circle Northeast           St. Petersburg        FL    33702         64.17
Alessio De Michele                                       2718 Alexander St                       Endwell               NY    13760         63.56
Ramona Thomson                                           15 Augusta Cove                         La Salle              MB    R0G0A1        61.16
Ryan Hayhurst                                            900 Old Fashioned Way                   Newport               NC    28570         60.00
Sara Soenen                                              3030 S 9th St                           Kalamazoo             MI    49009         59.88
Horizon Dynamic Web Designs, LLC                         PO Box 828                              Canandaigua           NY    14424         58.33
Megan Payne                                              317 Brick Blvd                          Brick                 NJ    08723         51.03
Georgie Wilkinson                                        317 Brick Blvd                          Brick                 NJ    08723         50.91
Joshua Zitzman                                           3170 N. Sheridan Rd                     Chicago               IL    60657         50.50
Holden Hrabak                                            10873 E Rosemary Lane                   Scottsdale            AZ    85255         50.50
Christopher Schelz                                       22 Lake Drive South                     Riverside             CT    06878         49.68
Hotel Monte Ulia                                                                                                                           44.21
Devon Tomson                                             19 Clifton Country Rd.                  Clifton Park          NY    12065         43.34
Ciara Barnes                                             171 Longsight Lane                      Rock Hill             SC    29730         42.76
Ralph Thibodeau                                          50 Highland St                          Holden                MA    01520         40.33
Vinay Vijay (Vincent) Saujani                            125 Marlborough Road                    Syracuse              NY    13206         38.92
Kyle Henry Wiswell                                       46 Knox Lane                            Berwick               ME    03901         35.00
Cheryl Edwards                                           130 Dean Road                           Massachusetts         MA    02445         34.50
Michael Jordan                                           65 Salli Circle                         Ludlow                MA    01056         31.88
Hayden Hollinger                                         4500 Great Oak Drive                    North Charleston      SC    29418         30.22
US Officials LLC                                         7025 Kingsmill Ct                       Lakewood Ranch        FL    34202         30.00




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Beverly Loss                                32 Madison Ave               Flemington     NJ    08822         28.97
The Appy Lodge c/o Oaktenn, Inc.            PO Box 1520                  Pigeon Forge   TN    37868         23.22
Anna Harris                                 1622 Picardy Ct              Long Grove     IL    60047         20.00
Justin Chad Matthews                        85 Central Street            Waltham        MA    02453         17.21
Morgan O'Hanrahan                           500 Carlen Avenue            Lexington      SC    29072         15.01
Darren Jones                                99 Grayrock Rd               Clinton        NJ    08809         14.00
Baylor Youth Foundation                     5499 Dexter Drive            Merrillville   IN    46410         12.00
Stephan Feldgoise                           18 Salem Drive               Scarsdale      NY    10583         12.00

Grand Totals                                                                                          6,850,861.27




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             Appendix No. 2 to Schedule E/F
     Former Employees With Potential WARN Act Claims
  All claims are contingent, unliquidated and disputed, and in unknown amounts




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    Order on Debtors’ Motion to File Portions of Schedules
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                 Appendix No. 3 to Schedule E/F
          List of Customer Deposit Creditors (Hockey)


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    Order on Debtors’ Motion to File Portions of Schedules
      and Creditor Matrix Under Seal dated July 1, 2020
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                 Appendix No. 4 to Schedule E/F
         List of Customer Deposit Creditors (Lacrosse)


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      and Creditor Matrix Under Seal dated July 1, 2020
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                 Appendix No. 5 to Schedule E/F
          List of Customer Deposit Creditors (Soccer)


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                                                 Appendix to Schedule G
                                               Schedule of Leased Property

                Debtor                        Contract/Lease                  Counterparty                Remaining Term
                                      WeWork Membership
                                      Agreement for use of             77 Sleeper Street Tenant LLC
                                      77 Sleeper Street                      77 Sleeper Street
Legacy Global Sports, L.P.            Boston, MA 02210                      Boston, MA 02210                 10 mos.

                                      Lease of premises located at
                                      2950 W. Square Lake Rd.              LSTC California, LLC
                                      Suite 101                               P.O. Box 712
Legacy Global Sports, L.P.            Troy, MI 48098                      Livermore, CA 94550                  3 yrs
                                                                      Zondervan Enterprises, L.L.C.
                                                                             P.O. Box 19394
                                      Lease of premises located at     Kalamazoo, MI 49019-0394
                                      The Aspen Building
                                      3030 South Ninth Street            5863 Governor's Hill Dr.
Premier Sports Events, LLC            Kalamazoo, MI 49009              Alexandria, VA 22310-2358              7 mos.
                                                                     Cntral Street Limited Partnership
                                      85 Central Street, #204                 85 Central Street
Massachusetts Premier Soccer, LLC     Waltham, MA 02453                    Waltham, MA 02453              month to month
                                      1 High Street Court                    En Masse 360, LLC
                                      Morristown, NJ 07960                  1 High Street Court
                                                                          Morristown, NJ 07960
Legacy Global Sports, L.P.                                                                                    6 mos.




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                             Appendix to Schedule H
The Following entities are co-obligors on the secured debt owed to Jefferson River
Investors I, LLC listed at Schedule D, No 2.2:

1. Legacy Global Sports, L.P.
2. LGS Management, LLC
3. LGS Manufacturing LLC
4. Legacy Global Lacrosse LLC
5. LGS Logistics LLC
6. LGS Team Sales LLC
7. Premier Sports Events LLC
8. Massachusetts Premier Soccer LLC
9. Maine Premier Soccer LLC
10. Mass Premier Soccer in New Hampshire LLC
11. Florida Premier Soccer LLC
12. New York Premier Soccer LLC
13. Jersey Premier Soccer LLC
14. GPS in Vermont LLC
15. Rhode Island Premier Soccer LLC
16. Carolina Premier Soccer LLC
17. Georgia Premier Soccer LLC
18. Global Premier Soccer Puerto Rico LLC
19. Global Premier Soccer Canada LLC
20. Global Premier Soccer Oregon LLC
21. Global Premier Soccer California LLC
22. Global Premier Soccer Missouri, LLC
23. Global Premier Soccer Connecticut LLC
24. Global Premier Soccer Delaware LLC
25. Global Premier Soccer Michigan LLC
26. Global Premier Soccer Minnesota LLC
27. Global Premier Soccer Ohio LLC




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